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                            ASSIGNMENT AND ASSUMPTION AGREEMENT

             THIS ASSIGNMENT AND ASSUMPTION AGREEMENT (this “Assignment”)
     is made and entered into on this [●] day of [●], by and among Polo North Country Club,
     Inc., a corporation formed under the laws of Florida (“Purchaser”), Revel AC, Inc., a
     corporation formed under the laws of Delaware (“Parent”), and Parent’s direct and
     indirect Subsidiaries listed on the signature pages hereto (collectively with Parent,
     “Sellers”, and together with Purchaser, the “Parties”).

             WHEREAS, pursuant to that certain Asset Purchase Agreement, dated as of
     September 30, 2014 (the “Asset Purchase Agreement”), by and among Purchaser and
     Sellers, Sellers, among other things, have agreed to (i) sell, convey, transfer, assign and
     deliver to Purchaser and Purchaser has agreed to purchase, acquire and accept from
     Sellers the Assets, including the Assumed Contracts, and (ii) assume the Assumed
     Liabilities; and

            WHEREAS, the Bankruptcy Court entered the Sale Order on [●], which
     authorized the sale of the Assets to, and the assumption of the Assumed Liabilities by,
     Purchaser.

             NOW, THEREFORE, in consideration of the foregoing and for other good and
     valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
     and pursuant to the terms and subject to the conditions of the Asset Purchase Agreement,
     the Parties hereto agree as follows:

           1.     Capitalized terms used herein but not otherwise defined in this
     Assignment shall have the meanings ascribed to such terms in the Asset Purchase
     Agreement.

             2.       Effective as of the date hereof, (a) Sellers hereby sell, convey, transfer,
     assign and deliver to Purchaser and Purchaser’s successors and assigns all of the right,
     title and interest of Sellers in and to the Assets, including the Assumed Contracts set forth
     on Exhibit 1 hereto, free and clear of all Encumbrances (other than Permitted
     Encumbrances and Assumed Liabilities) and (b) Purchaser hereby accepts the foregoing
     sale, conveyance, transfer, assignment and delivery and expressly assumes and agrees to
     pay, discharge and perform all of the Assumed Liabilities, including the obligations and
     Liabilities of Sellers arising under the Assumed Contracts as and when the same shall
     become due. Notwithstanding the foregoing, nothing in this Assignment shall constitute
     or be construed as selling, assigning, transferring, conveying or delivering to Purchaser,
     and Purchaser shall not acquire hereby, any right, title or interest to or in any of the
     Excluded Assets, and Purchaser is not assuming or in any way becoming liable or
     responsible for any of the Excluded Liabilities.

            3.      This Assignment is expressly made subject to the terms and conditions of
     the Asset Purchase Agreement. The delivery of this Assignment shall not affect, alter,
     enlarge, diminish or otherwise impair any of the representations, warranties, covenants,
     conditions, indemnities, terms or provisions of the Asset Purchase Agreement, which

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     shall survive the delivery of this Agreement to the extent, and in the manner, set forth in
     the Asset Purchase Agreement. If any conflict exists between the terms of this
     Assignment and the terms of the Asset Purchase Agreement, the terms of the Asset
     Purchase Agreement shall govern and control.

             4.     This Assignment and the covenants and agreements herein contained shall
     inure to the benefit of and shall bind the respective parties hereto and their respective
     successors and permitted assigns.

            5.     This Assignment shall be governed by and construed and enforced in
     accordance with the Laws of the State of New York, except to the extent that such Laws
     are superseded by the Bankruptcy Code.

             6.     This Assignment may be executed in any number of counterparts, each of
     which shall be deemed an original and all of which together shall constitute one and the
     same instrument. Counterparts of this Assignment (or applicable signature pages hereof)
     that are manually signed and delivered by facsimile or other electronic transmission shall
     be deemed to constitute signed original counterparts hereof and shall bind the parties
     signing and delivering in such manner.

            7.      This Assignment may only be modified by a written agreement duly
     signed by the Parties hereto.

            8.      The Parties hereto agree that the assignment of each of the Assumed
     Contracts shall be construed as being separable and divisible from the assignment of
     every other Assumed Contract. The unenforceability or invalidity of this Assignment
     with respect to any one Assumed Contract shall not limit the enforceability or validity, in
     whole or in part, with respect to any other Assumed Contract.

            9.      The Parties hereto agree to execute and deliver such further
     documentation, instruments, and the like and to take such further action as is reasonably
     required to carry out the intentions or to facilitate the performance of the terms of this
     Assignment.

                                      [signature page follows]




                                                 2
     NEWYORK 9337984 (2K)
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  Case 14-22654-GMBDoc 1138
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                IN WITNESS WHEREOF, the Parties have duly executed and delivered this
  Assignment as of the date first written above.

                                                           SELLERS:



                                                           REVEL AC, INC.



                                                           By:
                                                           Name:
                                                           Title:



                                                           REVEL AC, LLC



                                                           By:
                                                           Name:
                                                           Title: Authorized Person



                                                           REVEL ATLANTIC CITY, LLC



                                                           By:
                                                           Name:
                                                           Title: Authorized Person



                                                           REVEL ENTERTAINMENT GROUP,
                                                           LLC



                                                           By:
                                                           Name:
                                                           Title: Authorized Person




                         [Signature Page to Assignment and Assumption Agreement]
  NEWYORK 9337984 (2K)
Case 14-22654-MBK
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                     Doc   707-4Filed  01/08/15
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                                                           NB ACQUISITION, LLC



                                                           By:
                                                           Name:
                                                           Title: Authorized Person



                                                           SI LLC



                                                           By:
                                                           Name:
                                                           Title: Authorized Person




                         [Signature Page to Assignment and Assumption Agreement]
  NEWYORK 9337984 (2K)
Case 14-22654-MBK
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                     Doc   707-4Filed  01/08/15
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                                                          PURCHASER:



                                                          POLO NORTH COUNTRY CLUB,
                                                          INC.



                                                          By:
                                                          Name:
                                                          Title:




                            [Signature Page to Assignment and Assumption Agreement]

     NEWYORK 9337984 (2K)
Case 14-22654-MBK
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                                       Exhibit 1

                                   Assumed Contracts

     See attached.




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                    CONFIRMATION OF TRADEMARK ASSIGNMENT


                     THIS CONFIRMATION OF ASSIGNMENT OF TRADEMARKS, dated
     as of [●] (this “Assignment”), is made by Revel AC, Inc., a corporation formed under the
     laws of Delaware (“Parent”), and Parent’s direct and indirect Subsidiaries listed on the
     signature pages hereto (collectively with Parent, “Assignors”), in favor of Polo North
     Country Club, Inc. (“Assignee”), a corporation formed under the laws of Florida.

                                        W I T N E S S E T H:

                    WHEREAS, Assignors and Assignee have entered into that certain Asset
     Purchase Agreement, dated as of September 30, 2014 (the “Asset Purchase Agreement”)
     and that certain Bill of Sale, dated as of [●] (the “Bill of Sale”), pursuant to which
     Assignors have assigned certain assets to Assignee, including the registered trademarks
     and trademark applications listed on Schedule A attached hereto (the “Marks”), on the
     terms and conditions contained therein; and

                    WHEREAS, the Bankruptcy Court entered the Sale Order on [●], which
     authorized the sale of the Assets to, and the assumption of the Assumed Liabilities by,
     Assignee.

                     NOW, THEREFORE, in consideration of the foregoing and for other good
     and valuable consideration, the receipt and sufficiency of which is hereby acknowledged,
     and pursuant to the terms and subject to the conditions of the Asset Purchase Agreement,
     the parties hereto agree as follows:

                  1.     Capitalized terms used herein but not otherwise defined in this
     Assignment shall have the meanings ascribed to such terms in the Asset Purchase
     Agreement.

                    2.       Assignors hereby confirm that they have sold, granted, conveyed,
     assigned, and set over unto Assignee, its successors, legal representatives, and assigns, on
     an exclusive basis all of their right, title and interest in and to the Marks, including the
     goodwill of the businesses with which the Marks are associated, and to all of the assets,
     properties, contracts, rights and obligations relating thereto, including without limitation,
     any renewals and/or extensions thereof, for all territories of the world in perpetuity, and
     further including all income, royalties, and damages now and hereafter due and/or
     payable to Assignee, including without limitation, damages and payments for past or
     future infringements and misappropriations thereof, all rights to sue for past, present and
     future infringements or misappropriations thereof, and all rights corresponding to any of
     the above throughout the world. The parties agree that the terms and conditions of this
     Assignment, including this Section 2, are more fully set forth in the Asset Purchase
     Agreement, the terms and conditions which are incorporated herein.

                    3.     Assignors hereby authorize and request the Register of the United
     States Patent and Trademark Office, and any official of any country or countries foreign
     to the United States, whose duty is to issue trademark registrations or other evidence or
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     forms of industrial property protection on applications as aforesaid, to issue the same to
     the Assignee, its successors, legal representatives and assigns, with respect to the Marks
     in accordance with the terms of this instrument.

                    4.     Assignors hereby agree to execute upon the request of Assignee
     such additional instruments, documents and papers as are necessary to continue, secure,
     defend, register and otherwise give full effect to and to perfect the rights of Assignee
     under this Assignment in and to the Marks, including all documents necessary to register
     in the name of Assignee the assignment of the Marks with the United States Patent and
     Trademark Office, and with respect to any equivalent foreign rights, with any other
     appropriate trademark office or registrar.

                   5.      This Assignment shall be governed by, and construed and enforced
     in accordance with, the Laws of the State of New York, except to the extent that such
     Laws are superseded by the Bankruptcy Code.

                     6.     This Assignment may be executed in any number of counterparts,
     each of which shall be an original, but such counterparts shall together constitute but one
     and the same instrument. Facsimile transmission of any signed original counterpart
     and/or retransmission of any signed facsimile transmission shall be deemed the same as
     the delivery of an original.

                                      [signature page follows]




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Case 14-22654-MBK
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                IN WITNESS WHEREOF, the parties have duly executed and delivered this
  Assignment as of the date first written above.

                                                         SELLERS:



                                                         REVEL AC, INC.



                                                         By:
                                                         Name:
                                                         Title:



                                                         REVEL AC, LLC



                                                         By:
                                                         Name:
                                                         Title: Authorized Person



                                                         REVEL ATLANTIC CITY, LLC



                                                         By:
                                                         Name:
                                                         Title: Authorized Person



                                                         REVEL ENTERTAINMENT GROUP,
                                                         LLC



                                                         By:
                                                         Name:
                                                         Title: Authorized Person




                                [Signature Page to Trademark Assignment]
Case 14-22654-MBK
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                     Doc   707-4Filed  01/08/15
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                                                        NB ACQUISITION, LLC



                                                        By:
                                                        Name:
                                                        Title: Authorized Person



                                                        SI LLC



                                                        By:
                                                        Name:
                                                        Title: Authorized Person




                               [Signature Page to Trademark Assignment]
Case 14-22654-MBK
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                                               PURCHASER



                                               POLO NORTH COUNTRY CLUB, INC.



                                               By:
                                               Name:
                                               Title:
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                                                    SCHEDULE A

                              Registered Trademarks and Trademark Applications

Jurisdiction   Mark   Owner   Application Date   Application No.   Registration Date   Registration No.   Status   Class(es)
Case 14-22654-MBK
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                     Doc   707-4Filed  01/08/15
                                    Filed 10/02/14Entered  01/08/15
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Case 14-22654-MBK
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                     Doc   707-4Filed  01/08/15
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                                           BILL OF SALE

          THIS BILL OF SALE (this “Bill of Sale”) is made and entered into on this [●] day of [●],
  by and among Polo North Country Club, Inc., a corporation formed under the laws of Florida
  (“Purchaser”), Revel AC, Inc., a corporation formed under the laws of Delaware (“Parent”), and
  Parent’s direct and indirect Subsidiaries listed on the signature pages hereto (collectively with
  Parent, “Sellers”, and together with Purchaser, the “Parties”).

         WHEREAS, pursuant to that certain Asset Purchase Agreement, dated as of September
  30, 2014 (the “Asset Purchase Agreement”), by and among Purchaser and Sellers, (i) Sellers
  have agreed to sell, convey, transfer, assign and deliver the Assets to Purchaser and (ii)
  Purchaser has agreed to purchase, acquire and accept the Assets from Sellers; and

          WHEREAS, the Bankruptcy Court entered the Sale Order on [●], which authorized the
  sale of the Assets to Purchaser.

          NOW, THEREFORE, pursuant to the terms and subject to the conditions of the Asset
  Purchase Agreement and in consideration of the mutual promises it contains, and for other good
  and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
  Sellers hereby agree as follows:

          1.      Defined Terms. Capitalized terms used herein but not otherwise defined in this
  Bill of Sale shall have the meanings ascribed to such terms in the Asset Purchase Agreement.

          2.      Transfer of Assets. Effective as of the date hereof, Sellers do, to the extent
  provided in the Asset Purchase Agreement, hereby sell, convey, transfer, assign and deliver to
  Purchaser, and each of Purchaser’s respective successors and assigns, and Purchaser does hereby
  accept at and as of the date hereof, all of Sellers’ right, title and interest in the Assets, free and
  clear of all Encumbrances (other than Permitted Encumbrances and Assumed Liabilities).

          3.     Excluded Assets. Notwithstanding anything herein to the contrary, nothing in this
  Bill of Sale shall constitute or be construed as selling, assigning, transferring, conveying or
  delivering to Purchaser, and Purchaser shall not acquire hereby, any right, title or interest to or in
  any of the Excluded Assets.

          4.      Asset Purchase Agreement Controls. This Bill of Sale is expressly made subject
  to the terms and provisions of the Asset Purchase Agreement. The delivery of this Bill of Sale
  shall not affect, alter, enlarge, diminish or otherwise impair any of the representations, warranties,
  covenants, conditions, indemnities, terms or provisions of the Asset Purchase Agreement which
  shall survive the delivery of this Bill of Sale to the extent, and in the manner, set forth in the
  Asset Purchase Agreement. If any conflict exists between the terms of this Bill of Sale and the
  terms of the Asset Purchase Agreement, the terms of the Asset Purchase Agreement shall govern
  and control.

         5.     Governing Law. This Bill of Sale shall be governed by and construed and
  enforced in accordance with the Laws of the State of New York, except to the extent that such
  Laws are superseded by the Bankruptcy Code.


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          6.     Successors and Assigns. This Bill of Sale shall be binding upon Sellers and
  Sellers’ successors and assigns and shall inure to the benefit of Purchaser and Purchaser’s
  successors and assigns.

         7.     Counterparts. This Bill of Sale may be executed in any number of counterparts,
  each of which shall be deemed an original and all of which together shall constitute one and the
  same instrument.

          8.      Amendment and Waiver. This Bill of Sale may not be amended or modified in
  any manner other than by an agreement in writing signed by the Parties or their respective
  successors or permitted assigns. No waiver under this Bill of Sale shall be valid or binding
  unless set forth in a writing duly executed and delivered by the Party against whom enforcement
  of such waiver is sought. Neither the waiver by any of the Parties of a breach or default under
  any of the provisions of this Bill of Sale, nor the failure by any of the Parties, on one or more
  occasions, to enforce any of the provisions of this Bill of Sale or to exercise any right or
  privilege hereunder, shall be construed as a waiver of any other breach or default of a similar
  nature, or as a waiver of any of such provisions, rights or privileges hereunder.

        9.       Notice. Any notice given pursuant to this Bill of Sale shall be given in the same
  manner as stated in Section 14.12 of the Asset Purchase Agreement.

                                     [Signature Page Follows]




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          IN WITNESS WHEREOF, the Parties have duly executed and delivered this Bill of Sale
  as of the date first written above.

                                                   SELLERS:



                                                   REVEL AC, INC.



                                                   By:
                                                   Name:
                                                   Title:



                                                   REVEL AC, LLC



                                                   By:
                                                   Name:
                                                   Title: Authorized Person



                                                   REVEL ATLANTIC CITY, LLC



                                                   By:
                                                   Name:
                                                   Title: Authorized Person



                                                   REVEL ENTERTAINMENT GROUP,
                                                   LLC



                                                   By:
                                                   Name:
                                                   Title: Authorized Person




                                [Signature Page to Bill of Sale]


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                                                 NB ACQUISITION, LLC



                                                 By:
                                                 Name:
                                                 Title: Authorized Person



                                                 SI LLC



                                                 By:
                                                 Name:
                                                 Title: Authorized Person




                              [Signature Page to Bill of Sale]

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                                              PURCHASER



                                              POLO NORTH COUNTRY CLUB, INC.



                                              By:
                                              Name:
                                              Title:




                              [Signature Page to Bill of Sale]

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                                                                      CONFIDENTIAL




                               SELLERS DISCLOSURE LETTER

                                         TO THE

                               ASSET PURCHASE AGREEMENT

                              DATED AS OF SEPTEMBER 30, 2014

                                      BY AND AMONG

                                     REVEL AC, INC. AND
                         CERTAIN OF ITS SUBSIDIARIES NAMED HEREIN

                                       AS SELLERS,

                                           AND

                              POLO NORTH COUNTRY CLUB, INC.

                                      AS PURCHASER




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          This Sellers Disclosure Letter (this “Sellers Disclosure Letter”) is made and delivered
  pursuant to that certain Asset Purchase Agreement (the “Agreement”), dated as of this 30th day
  of September, 2014, by and among Polo North Country Club, Inc., a corporation incorporated
  under the laws of Florida (“Purchaser”), Revel AC, Inc., a corporation formed under the laws of
  Delaware (“Parent”), and Parent’s direct and indirect Subsidiaries listed on the signature pages
  thereto. Unless the context otherwise requires, all capitalized terms used in this Sellers
  Disclosure Letter shall have the respective meanings assigned to such terms in the Agreement.

          This Sellers Disclosure Letter (including drafts or portions thereof, or information
  contained therein) contains highly confidential business information and trade secrets, shall be
  kept confidential, and shall not be filed with the Bankruptcy Court, made publicly available, or
  disclosed to any non-Party (other than the existing holders of obligations under the (x) that
  certain Amended and Restated First Lien Credit Agreement dated as of November 8, 2013
  executed by Sellers, (y) that certain Second Lien Credit Agreement dated as of May 21, 2013
  executed by Sellers and (z) the DIP Loan Credit Agreement) without prior written consent of the
  Parties, unless otherwise required by applicable Law.

          No reference to or disclosure of any item, amount or other matter in this Sellers
  Disclosure Letter shall be construed as an admission or indication, or otherwise imply, that such
  item, amount or other matter is material or outside of the Ordinary Course of Business or that
  such item, amount or other matter is required to be referred to or disclosed in this Sellers
  Disclosure Letter. No disclosure in this Sellers Disclosure Letter relating to any possible breach
  or violation of any agreement or Law shall be construed as an admission or indication that any
  such breach or violation exists or has actually occurred. The disclosure of any fact or item in any
  section of this Sellers Disclosure Letter shall, should the existence of such fact or item be
  relevant to any other section, be deemed to be disclosed with respect to that other section so long
  as the relevance of such disclosure to such other section is reasonably apparent from the nature
  of such disclosure. Nothing in this Sellers Disclosure Letter is intended to broaden the scope of
  any representation or warranty of Sellers made herein. In disclosing the information in this
  Sellers Disclosure Letter, Sellers expressly do not waive any attorney-client privilege associated
  with such information or any protection afforded by the work-product doctrine with respect to
  any of the matters disclosed or discussed therein.

          Matters disclosed in this Sellers Disclosure Letter are not necessarily limited to matters
  required by the Agreement to be reflected herein. Any such additional matters are set forth for
  informational purposes and this Sellers Disclosure Letter does not necessarily include other
  matters of a similar informational nature. The inclusion of any item in this Sellers Disclosure
  Letter, including the documents referred to herein, is not intended to imply that the item so
  included or other items are or are not material or could result in a Material Adverse Effect with
  respect to Sellers, and no party shall use the fact of setting forth the inclusion of any such item in
  any dispute or controversy between the parties as to whether any item not included in this Sellers
  Disclosure Letter is or is not material or could result in a Material Adverse Effect with respect to
  Sellers for purposes of the Agreement. The introductory language hereto and the headings to
  each Section are inserted for convenience only and shall neither create a different standard for
  disclosure nor affect in any way the meaning or interpretation of the language set forth in the
  Agreement or this Sellers Disclosure Letter. The information set forth in this Disclosure Letter
  was not prepared or disclosed with a view to disclosure to any Person other than the parties to the



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  Agreement, and neither Sellers nor other Person assumes any responsibility for the accuracy of
  such information or otherwise to any Person that is not a party to the Agreement.




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                                                 Section 1.1(b)
                                            Permitted Encumbrances

  Property Taxes

  All Taxes relating to real property incurred in the Ordinary Course of Business on or prior to the
  Closing Date.

  Non-compliance under the Americans with Disabilities Act1

  See Section 3.5

  Leasehold Interests2

                   Counterparty                                             Agreement3
 IDEA Boardwalk, LLC                               Lease Agreement dated May 12, 2012
 50 Washington St.
 Hoboken, NJ 07030
 RJ Atlantic City, LLC/Royal Jelly Burlesque       Lease Agreement dated February 15, 2012
 Nightclub
 1901 Avenue of the Stars 1050
 Los Angeles, CA 90067
 GRGAC1, LLC                                       Lease Agreement dated December 7, 2011
 2401 Walnut Street STE 300
 Philadelphia, PA 19103
 GRGAC2, LLC                                       Lease Agreement dated December 7, 2011
 2401 Walnut Street STE 300
 Philadelphia, PA 19103
 GRGAC3, LLC                                       Lease Agreement dated December 7, 2011
 2401 Walnut Street STE 300
 Philadelphia, PA 19103
 Azure AC Allegretti, LLC LDV Hospitality          Lease Agreement dated February 10, 2012
 450 7th Ave Ste 4210
 New York, NY 10123
 Lugo AC, LLC LDV Hospitality                      Lease Agreement dated January 5, 2012
 450 7th Ave Ste 4210
 New York, NY 10123
 American Cut AC Marc Forgione LLC                 Lease Agreement dated January 5, 2012
 450 7th Ave Ste 4210
 New York, NY 10123
 PM Atlantic City, LLC                             Lease Agreement dated May 22, 2012
 526 Pacific Ave Unit 1101
 Atlantic City, NJ 08401
 Mussel Bar AC, LLC                                Lease Agreement dated January 16, 2012
 2401 Pennsylvania Avenue, NW
 Washington, DC 20037


  1
    These encumbrances will not be Permitted Encumbrances as of the Closing Date.
  2
    The Sellers will use commercially reasonable efforts to sell free and clear of all leasehold interests.
  3
    Notwithstanding any agreement’s characterization below as a lease, the Debtors reserve all rights, including, but
  not limited to, seeking to recharacterize such agreement as something other than a lease of real property. Each
  agreement included in this list of agreements shall include any amendments thereto.




  NEWYORK 9327219 (2K)
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 Exhale Enterprises XXI, Inc.        Lease Agreement dated February 20, 2012
 500 Boardwalk-Revel Beach
 Atlantic City, NJ 08401
 Hugo Boss Retail INC                Lease Agreement dated March 19, 2012
 601 West 26th Street, 8th Floor
 New York, NY 10001
 DNA2050 Emporium, LLC               Lease Agreement dated May 22, 2012
 3238 Prospect Street, NW
 Washington, DC 20007
 The Marshall Retail Group, LLC      Lease Agreements dated May 22, 2012 and July 19, 2012
 500 Boardwalk-Revel Beach
 Atlantic City, NJ 08401
 Revolution Jewelers, LLC            Lease Agreement dated June 29, 2012
 500 Boardwalk-Revel Beach
 Atlantic City, NJ 08401
 Denim Habit AC, LLC                 Lease Agreement dated May 7, 2012
 1535 Chestnut Street, Suite 100
 Philadelphia, PA 19102




  NEWYORK 9327219 (2K)
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                                     Section 2.1(b)
                                   Assumed Contracts

  See attached.




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                                       Section 2.2(b)
                                      Excluded Assets

               Insurance                 Carrier                  Policy No.     Expiration
                                                                                   Date

D&O Fiduciary                  Beazley Insurance Co.         V13B16140201      5/21/15

Excess D&O                     Endurance American            D0X10004898700    5/21/15
                               Insurance Company

Excess D&O                     XL Specialty Insurance Co.    ELU134196-14      5/21/15

Excess D&O                     Freedom Specialty Insurance   XMF1401106        5/21/15
                               Company

Excess D&O – Side A DIC        Lloyd’s of London             B0509QBO36814     5/21/15

D&O Runoff                     Beazley Insurance Co.         V13B19130101      10/3/19

Excess D&O Runoff              Arch Insurance Company        DOX0054931-00     10/3/19

Excess D&O Runoff              XL Specialty Insurance        ELU129816-13      10/3/19
                               Company

Excess D&O Runoff              Continental Casualty          592398573         10/3/19




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                                     Section 2.3(a)
                          Assumed Liabilities — Trade Payables

  None.




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                                         Section 3.3
                                         No Conflicts

  The Assumed Contracts may contain anti-assignment provisions which would be triggered as a
  result of the proposed Transaction. However, each such assignment provision in such Assumed
  Contracts should have no force or effect upon the entry of a Sale Order by virtue of the
  applicable Bankruptcy Rules.




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                                      Section 3.4
                                Consents and Approvals

  None.




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                                      Section 3.6
                                     Title to Assets

  None.




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                                            Section 3.8
                                        Financial Statements

  Due to the financial circumstances of Sellers, Sellers’ auditors have not yet completed their audit
  of the Annual Financial Statements.




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                                          Section 5.3
                            Conduct of Business Pending the Closing


  Sellers will take any and all necessary actions in their Bankruptcy Cases as permitted under the
  Bankruptcy Code and in accordance with any Order or regulation by the New Jersey Division of
  Gaming Enforcement.




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                                                   Section 9.3
                         Conditions to Sellers’ and Purchaser’s Obligations - Approvals


  Approvals required under applicable antitrust laws, including the HSR Act.




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                                       Section 10.6
                          Conditions to Purchaser’s Obligations

  None.




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Section 2.1 of the Sellers Disclosure Letter


        SELLER ENTITY                                    COUNTERPARTY                                          DESCRIPTION
Revel Entertainment Group, LLC   Absecon Island Beverage, Inc.                   Bar equipment service agreement/Renewal Letter




                                 6754 Washington Avenue Unit B
                                 Egg Harbor Township, NJ 08234

Revel Entertainment Group, LLC   AC Coin & Slot Service Co.                      Lease agreement for 9 gaming devices




                                 dba AC Slots
                                 P.O. Box 8500 Box #7827
                                 Philadelphia, PA 19178
Revel AC, Inc.                   ACE American Insurance Company                  Insurance Policy


                                 436 Walnut Street
                                 Philadelphia, PA 19106

Revel Entertainment Group, LLC   Acela Technologies                              The installation and implementation of a 2 way radio system.

                                 5115 Pegasus Ct. Suite A
                                 Frederick, MD 21704

Revel Entertainment Group, LLC   ACLS Wardrobe Ind                               Laundry Services Contract
                                 30 N New Road
                                 Pleasantville, NJ 08232

Revel Entertainment Group, LLC   ACLS Wardrobe Ind                               Laundry Services Contract, 1st addendum to laundry services agreement, 2nd
                                                                                 addendum to the laundry services agreement


                                 30 N New Road
                                 Pleasantville, NJ 08232
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        SELLER ENTITY                                      COUNTERPARTY                                               DESCRIPTION
Revel Entertainment Group, LLC   ACLS Wardrobe Ind                                     3rd addendum to the laundry services agreement
                                 30 N New Road
                                 Pleasantville, NJ 08232

Revel Entertainment Group, LLC   ACR Energy Partners                                   Energy Sales Agreement
                                 214 Morris Avenue
                                 Linwood, NJ 08221

NB Acquisition, LLC              ACR Energy Partners LLC                               Nonresidential real property lease agreement
                                 ATTN: Dave Robbins
                                 PO Box 152
                                 Hammonton, NJ 08037
Revel Entertainment Group, LLC   Acxiom Information Security Services, Inc.            Service Agreement
                                 6111 Oak Tree Boulevard
                                 Independence, OH 44131

Revel Entertainment Group, LLC   Adaptive Data Storage, Inc.                           Colocation License Agreement
                                 1805 Underwood Blvd.
                                 Delran, NJ 08075

Revel Entertainment Group, LLC   Adept Consulting Services, Inc.                       Software License Agreement
                                 408 W Main Street
                                 Suite A
                                 Lansdale, PA 19446
Revel Entertainment Group, LLC   AEG Live Productions, LLC                             Entertainment Contract
                                 145 West 45th, 9th Floor
                                 New York, NY 10036

Revel Entertainment Group, LLC   AFCO Premium Credit LLC                               Commercial Premium Finance Agreement
                                 14 Wall Street, Suite 8A-19
                                 New York, NY 10005

Revel AC, Inc.                   AFCO Premium Credit LLC                               Commercial Premium Finance Agreement
                                 14 Wall Street, Suite 8A-19
                                 New York, NY 10005

Revel Entertainment Group, LLC   Agilysys                                              Systems monitoring management & support for
                                 1858 Paysphere Circle
                                 Chicago, IL 60674

Revel Entertainment Group, LLC   Agilysys NV, LLC                                      Universal Agreement
                                 1858 Paysphere Circle
                                 Chicago, IL 60674
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        SELLER ENTITY                                    COUNTERPARTY                                                       DESCRIPTION
Revel Entertainment Group, LLC   Agilysys NV, LLC                                             Supplement to universal agreement
                                 1858 Paysphere Circle
                                 Chicago, IL 60674

Revel AC, Inc.                   AIG                                                          Insurance Policy: Policy No. 01-582-79-85
                                 PO Box 25947
                                 Shawnee Mission, KS 66225

Revel Entertainment Group, LLC   AirWatch LLC                                                 Support and SAAS hosting fees
                                 931 Monroe Drive, Suite 102-303
                                 Atlanta, GA 30308

Revel Entertainment Group, LLC   AirWatch, LLC d/b/a Wandering WiFi                           Amendment to Hotel Wireless Internet Project Agreement
                                 P.O. Box 742048
                                 Atlanta, GA 30374-2048

Revel Entertainment Group, LLC   AJ Conveyor and Laundy Systems, LLC                          Wardrobe conveyor equipment and soiled linen conveyor maintenance
                                                                                              agreement
                                 735 Willow Street
                                 Cranford, NJ 07016

Revel Entertainment Group, LLC   Alfresco Software, Ltd.                                      Enterprise Agreement
                                 The PlaceBridge Avenue
                                 Maidenhead, BerkshireSL6 1AF UK

Revel Entertainment Group, LLC   All American Sign Company, LLC                               Lease of bulletin boards for advertising
                                 2780 Delsea Drive
                                 Franklinville, NJ 08322

Revel Entertainment Group, LLC   American Auto Salvage & Recycling                            Scrap removal services
                                 3113 Route 50
                                 Mays Landing, NJ 08330

Revel Entertainment Group, LLC   American Cut AC Marc Forgione, LLC                           Restaurant property lease agreement
                                 450 7th Avenue
                                 Suite 4200
                                 New York, NY 10123
Revel Entertainment Group, LLC   American Express Travel Related Services Inc                 Hotel collection participation agreement
                                 200 Vesey Street
                                 MSTP: 01-19-10
                                 New York, NY 10285
Revel Entertainment Group, LLC   American Society of Composers, Authors and Publishers        License Agreement - Hotels and Motels to play music at hotel
                                 Authors and Publishers
                                 PO Box 331608-7515
                                 Nashville, TN 37203
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        SELLER ENTITY                                     COUNTERPARTY                                            DESCRIPTION
Revel AC, Inc.                   Amerihealth Casualty                             Insurance Policy
                                 1700 Market Street, 7th Floor
                                 Philadelphia, PA 19103

Revel Entertainment Group, LLC   AMG Boardwalk AND RJ Atlantic City               CHAB Liability Agreement
                                 500 Boardwalk
                                 Atlantic City, NJ 08401

Revel Entertainment Group, LLC   Anthony Gonsalves                                Settlement agreement and general release
                                 1740 Shady Oaks Drive
                                 Southlake, TX 76092

Revel Entertainment Group, LLC   Aon Hewitt                                       Engagement letter to manage prescription drug program
                                 44 Whippany Road
                                 Suite 220
                                 Morristown, NJ 07960
Revel Entertainment Group, LLC   Aon Hewitt                                       Health and benefits consulting services
                                 44 Whippany Road
                                 Suite 220
                                 Morristown, NJ 07960
Revel AC, Inc.                   Arch                                             Insurance Policy
                                 3100 Broadway, Suite 511
                                 Kansas City, MO 64111

Revel AC, Inc.                   Arch                                             Insurance Policy
                                 3100 Broadway, Suite 511
                                 Kansas City, MO 64111

Revel AC, Inc.                   Arch Specialty Insurance Company                 Insurance Policy
                                 Three Parkway, Suite 1500
                                 Philadelphia, PA 19102

Revel Entertainment Group, LLC   Aristocrat Technologies Inc.                     Master Terms & Conditions Agreement
                                 P.O. Box 849540
                                 Los Angeles, CA 90084-9540

Revel Entertainment Group, LLC   Aristocrat Technologies Inc.                     Minimum Lease Agreement
                                 P.O. Box 849540
                                 Los Angeles, CA 90084-9540

Revel Entertainment Group, LLC   Aristocrat Technologies Inc.                     Gaming Device Agreement
                                 P.O. Box 849540
                                 Los Angeles, CA 90084-9540
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        SELLER ENTITY                                     COUNTERPARTY                                          DESCRIPTION
Revel Entertainment Group, LLC   Aristocrat Technologies Inc.                     Gaming Device Agreement (1st Amendment)
                                 P.O. Box 849540
                                 Los Angeles, CA 90084-9540

Revel Entertainment Group, LLC   Aristocrat Technologies Inc.                     Gaming Device Agreement
                                 P.O. Box 849540
                                 Los Angeles, CA 90084-9540

Revel Entertainment Group, LLC   Aristocrat Technologies Inc.                     Gaming Device Agreement
                                 P.O. Box 849540
                                 Los Angeles, CA 90084-9540

Revel AC, Inc.                   Aspen Specialty Insurance Co                     Insurance Policy
                                 175 Capital Blvd, Suite 300
                                 Rocky Hill, CT 06067

Revel Entertainment Group, LLC   Assurity Design Group                            Onsite service and operations contract.
                                 PO Box 207
                                 Warwick, NY 10990

Revel Entertainment Group, LLC   Atlantic City Alliance                           Amendment to Agreement.
                                                                                  Agreement to address and clarify Revel's obligation to contribute to the ACA's
                                                                                  statutorily mandated marketing program.
                                 Historic Boardwalk Hall
                                 2301 Boardwalk
                                 Atlantic City, NJ 08401
Revel Entertainment Group, LLC   Atlantic City Alliance                           Marketing agreement
                                 Historic Boardwalk Hall
                                 2301 Boardwalk
                                 Atlantic City, NJ 08401
Revel Entertainment Group, LLC   Atlantic City Golf Vacations                     Intermediary agreement
                                 331 Tilton Road, suite 29
                                 Northfield, NJ 08225

Revel Entertainment Group, LLC   Atlantic County Utilities Authority              Inspection Services
                                 P.O. Box 721
                                 Pleasantville,

Revel Entertainment Group, LLC   AtlantiCare Regional Medical Center              First Amendment to Emergency Medical Services Agreement
                                 6685 Washington Avenue
                                 Egg Harbor Township, NJ 08234
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        SELLER ENTITY                                 COUNTERPARTY                                              DESCRIPTION
Revel Entertainment Group, LLC   Automated Gaming Technologies, Inc.            Sales and service agreement for currency and coin recycling units and software

                                 6845 S.Escondido St Ste 104
                                 Las Vegas, NV 89119

Revel AC, Inc.                   AWAC                                           Insurance Policy
                                 199 Water Street, 24th Floor
                                 New York, NY 10038

Revel Entertainment Group, LLC   Azure AC Allegretti, LLC                       Restaurant property lease agreement
                                 450 7th Avenue
                                 Suite 4200
                                 New York, NY 10123
Revel Entertainment Group, LLC   Azure AC Allegretti, LLC                       Restaurant property lease agreement (1st Amendment)
                                 450 7th Avenue
                                 Suite 4200
                                 New York, NY 10123
Revel Entertainment Group, LLC   Back Bay Management LLC                        Entertainment contract
                                 520 S Independence Blvd
                                 Virginia Beach, VA 23452

Revel Entertainment Group, LLC   Bally Gaming Inc.                              Slot System Agreement
                                 dba Bally Technologies
                                 Lockbox #749335
                                 Los Angeles, CA 90074-9335
Revel Entertainment Group, LLC   Bally Gaming Inc.                              Gaming Device Agreement
                                 dba Bally Technologies
                                 Lockbox #749335
                                 Los Angeles, CA 90074-9335
Revel Entertainment Group, LLC   Bally Gaming Inc.                              Gaming Device Agreement (1st Amendment)
                                 dba Bally Technologies
                                 Lockbox #749335
                                 Los Angeles, CA 90074-9335
Revel Entertainment Group, LLC   Bally Gaming Inc.                              Gaming Device Agreement (2nd Amendment)
                                 dba Bally Technologies
                                 Lockbox #749335
                                 Los Angeles, CA 90074-9335
Revel Entertainment Group, LLC   Bally Gaming Inc.                              Gaming Device Agreement
                                 dba Bally Technologies
                                 Lockbox #749335
                                 Los Angeles, CA 90074-9335
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        SELLER ENTITY                                   COUNTERPARTY                                          DESCRIPTION
Revel Entertainment Group, LLC   Bally Gaming Inc.                              Gaming Device Agreement (1st Amendment)
                                 dba Bally Technologies
                                 Lockbox #749335
                                 Los Angeles, CA 90074-9335
Revel Entertainment Group, LLC   Bally Gaming Inc.                              Gaming Device Agreement (2nd Amendment)
                                 dba Bally Technologies
                                 Lockbox #749335
                                 Los Angeles, CA 90074-9335
Revel Entertainment Group, LLC   Bally Gaming Inc.                              Gaming Device Agreement (on loan)
                                 dba Bally Technologies
                                 Lockbox #749335
                                 Los Angeles, CA 90074-9335
Revel Entertainment Group, LLC   Bally Gaming Inc.                              Lease Agreement
                                 dba Bally Technologies
                                 Lockbox #749335
                                 Los Angeles, CA 90074-9335
Revel Entertainment Group, LLC   Bally Gaming Inc.                              Gaming Device Agreement (on loan)
                                 dba Bally Technologies
                                 Lockbox #749335
                                 Los Angeles, CA 90074-9335
Revel AC, Inc.                   Beazley                                        Insurance Policy
                                 1270 Avenue of the Americas
                                 New York, NY 10020

Revel AC, Inc.                   Beazley                                        Insurance Policy
                                 1270 Avenue of the Americas
                                 New York, NY 10020

Revel AC, Inc.                   Beazley                                        Insurance Policy
                                 1270 Avenue of the Americas
                                 New York, NY 10020

Revel AC, Inc.                   Beazley                                        Insurance Policy
                                 1270 Avenue of the Americas
                                 New York, NY 10020

Revel Entertainment Group, LLC   Bellator Sport Worldwide, LLC                  Site agreement for staging mixed martial arts
                                 5000 Birch Street
                                 Suite 7100
                                 Newport Beach, CA 92660
Revel Entertainment Group, LLC   Bevtech/Enostore Distribution LLC              Test the concept for using the enomatic wine serving systems
                                 300 Broadacres Drive, 4th floor
                                 Bloomfield, NJ 07003
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        SELLER ENTITY                                    COUNTERPARTY                                                 DESCRIPTION
Revel Entertainment Group, LLC   Biometrica Systems, LLC                               Visual Casino Software License Agreement
                                 c/o MorphoTrak
                                 33405 8th Avenue South
                                 Federal Way, WA 98003
Revel Entertainment Group, LLC   BLT Architects                                        Assignment of Contract - E-Builder
                                 1216 Arch St. Suite 800
                                 Philadelphia, PA 19107

Revel Entertainment Group, LLC   BlueWater Communications Group LL                     Consulting Services
                                 110 Parkway Drive South
                                 Suite A
                                 Hauppauge, NY 11788
Revel Entertainment Group, LLC   Bluewater Communications Group LLC                    Installation and maintenance support for internet service
                                 110 Parkway Drive South
                                 Suite A
                                 Hauppauge, NY 11788
Revel Entertainment Group, LLC   Bluewater Communications Group LLC                    Data Center Solution, AD, Exchange & SQL
                                 110 Parkway Drive South
                                 Suite A
                                 Hauppauge, NY 11788
Revel Entertainment Group, LLC   Bluewater Communications Group LLC                    Data Center Solution Scope of Work
                                 110 Parkway Drive South
                                 Suite A
                                 Hauppauge, NY 11788
Revel Entertainment Group, LLC   BlueWater Communications Group LLC                    Master Services Agreement
                                 110 Parkway Drive South
                                 Suite A
                                 Hauppauge, NY 11788
Revel Entertainment Group, LLC   BlueWater Communications Group LLC                    Staging Facility Agreement
                                 110 Parkway Drive South
                                 Suite A
                                 Hauppauge, NY 11788
Revel Entertainment Group, LLC   Bonnie Bernstein d/b/a Velvet Hammer Media            Professional Consulting Services
                                 61 W 62nd Street
                                 Suite 9G
                                 New York, NY 10023
Revel Entertainment Group, LLC   Booking.com                                           Accomodation agreement
                                 5295 Paysphere Circle
                                 Lockbox 5294
                                 Chicago, IL 60674
Revel Entertainment Group, LLC   Bower Lewis Thrower Architects (BLT)                  Agreement to provide certain architectural and design services. AMENDMENT

                                 1216 Arch St. Suite 800
                                 Philadelphia, PA 19107
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        SELLER ENTITY                                     COUNTERPARTY                                                  DESCRIPTION
Revel Entertainment Group, LLC   Brown Rudnick                                        Legal Services Agreement
                                 One Financial Center
                                 Boston, MA 02111

Revel Entertainment Group, LLC   CallCopy, Inc.                                       System Purchase Agreement
                                 P.O. Box 674562
                                 Detroit, MI 48267-4562

Revel Entertainment Group, LLC   Camden Outdoor, L.L.C                                Service agreement to maintain outdoor billboard sign and display of Revel.
                                 1616 Pacific Avenue
                                 Suite 500
                                 Atlantic City, NJ 08401
Revel Entertainment Group, LLC   Camden Outdoor, L.L.C                                Billboard sign display contract
                                 1616 Pacific Avenue
                                 Suite 500
                                 Atlantic City, NJ 08401
Revel Entertainment Group, LLC   Capaldi Reynolds & Pelosi, CPA                       Accounting services
                                 332 Tilton Road
                                 Northfield, NJ 08225

Revel Entertainment Group, LLC   Casino Express of Central Florida                    Independent agent agreement
                                 105 Rollingwood Trail
                                 Altamonte Springs, FL 32714

Revel Entertainment Group, LLC   Casino Player Publishing LLC                         Advertising Contract
                                 333 E Jimmie Leeds Road
                                 Suite #7
                                 Galloway, NJ 08406
Revel Entertainment Group, LLC   Casino, Hotel & Resort Consultants, LLC              Agreement for Professional Consulting Services
                                 772 Brackett Road
                                 Sanbornville, NH 03872

Revel Entertainment Group, LLC   CBS Outdoor                                          Advertiser agreement
                                 185 US Highway 46
                                 Fairfield, NJ 07004

Revel Entertainment Group, LLC   CBS Outdoor                                          Advertiser agreement
                                 185 US Highway 46
                                 Fairfield, NJ 07004

Revel Entertainment Group, LLC   Cellco Partnership d/b/a Verizon Wireless            In building radio distribution agreement
                                 P.O. Box 4833
                                 Trenton, NJ 08650
                    Case 14-22654-MBK
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        SELLER ENTITY                                     COUNTERPARTY                                                  DESCRIPTION
Revel Entertainment Group, LLC   Cellco Partnership d/b/a Verizon Wireless             In building radio distribution agreement - First Amendment
                                 P.O. Box 4833
                                 Trenton, NJ 08650

Revel Entertainment Group, LLC   Center Stage Entertainment, Inc.                      Don’t Call Me Francis Band performance on 12/31/2013.
                                 902 West Laurel Road
                                 Lindenwold, NJ 08021

Revel Entertainment Group, LLC   Center Stage Entertainment, Inc.                      Don’t Call Me Francis Band performances
                                 902 West Laurel Road
                                 Lindenwold, NJ 08021

Revel Entertainment Group, LLC   Center Stage Entertainment, Inc.                      Agreement for DJ and entertainment services
                                 902 West Laurel Road
                                 Lindenwold, NJ 08021

Revel Entertainment Group, LLC   Centerstance, Inc.                                    Statement of Work - Salesforce.com Implementation
                                 514 SW 6th Avenue Ste 500
                                 Portland, OR 97204

Revel Entertainment Group, LLC   Central Credit, LLC                                   Central Credit Subscriber Agreement
                                 3525 East Post Road, Suite 120
                                 Las Vegas, NV 89120

Revel Entertainment Group, LLC   Central Credit, LLC                                   Central Credit Check Warranty Agreement
                                 3525 East Post Road, Suite 120
                                 Las Vegas, NV 89120

Revel AC, Inc.                   Chan Suh                                              Indemnification Agreement
                                 428 Broome Street
                                 5th Floor
                                 New York, NY 10013
Revel Entertainment Group, LLC   Channing Stowell                                      Agreement for Professional Consulting Services for database marketing analysis
                                                                                       and consulting
                                 31474 Enchanted Loop
                                 Burtrurn, MN 56318

Revel Entertainment Group, LLC   Chatham Financial Corp                                Services in connection with over the counter interest rate derivative transactions

                                 235 Whitehorse Lane
                                 Kennett Square, PA 19348

Revel AC, Inc.                   Chubb Custom Market, Inc                              Insurance Policy
                                 555 South Flower Street, 3rd Floor
                                 Los Angeles, CA 90001
                    Case 14-22654-MBK
                      Case 14-22654-GMBDoc 1138
                                         Doc   707-4Filed  01/08/15
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        SELLER ENTITY                                      COUNTERPARTY                                            DESCRIPTION
Revel Entertainment Group, LLC   Cintas Corp.                                       Primary uniform supplier to Revel.
                                 97627 Eagle Way
                                 Chicago, IL 60678-7627

Revel Entertainment Group, LLC   Cintas Corp.                                       Uniform rental service agreement
                                 97627 Eagle Way
                                 Chicago, IL 60678-7627

Revel Entertainment Group, LLC   Cintas Corp.                                       Primary uniform supplier to Revel (1st Amendment).
                                 97627 Eagle Way
                                 Chicago, IL 60678-7627

Revel Entertainment Group, LLC   Cintas Corporation                                 Service agreement to provide garment rental services and other items to Revel.

                                 97627 Eagle Way
                                 Chicago, IL 60678-7627

Revel Entertainment Group, LLC   Cintas Corporation                                 Mutual consent to termination of agreement and release
                                 97627 Eagle Way
                                 Chicago, IL 60678-7627

Revel Entertainment Group, LLC   Cintas Corporation                                 Service agreement to provide garment rental services and other items to Revel.
                                                                                    (1st Amendment)
                                 97627 Eagle Way
                                 Chicago, IL 60678-7627

Revel Entertainment Group, LLC   City of Atlantic City                              Hold harmless agreement for boardwalk vehicular permit
                                 1301 Bacharach Blvd. Room 308
                                 Atlantic City, NJ 08401

Revel Entertainment Group, LLC   City of Atlantic City                              Nonresidential Real Property
                                 1301 Bacharach Blvd. Room 406
                                 Atlantic City, NJ 08401

Revel Entertainment Group, LLC   ClearChannel Outdoor                               Digital bulletin advertising
                                 99 Park Avenue
                                 Floor 2
                                 New York, NY 10016
Revel Entertainment Group, LLC   Cleargoals Company                                 Integration and configuration services
                                 3575 St. Laurent
                                 Suite 410
                                 Montreal, QC H2X 2T7
Revel Entertainment Group, LLC   CLS Water Quality, Inc.                            Water treatment service agreement
                                 156 Mt. Bethel Road
                                 Warren, NJ 07059
                    Case 14-22654-MBK
                      Case 14-22654-GMBDoc 1138
                                         Doc   707-4Filed  01/08/15
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        SELLER ENTITY                                     COUNTERPARTY                                                     DESCRIPTION
Revel AC, Inc.                   CNA                                                        Insurance Policy
                                 125 Broad Street, 8th Floor
                                 New York, NY 10004

Revel Entertainment Group, LLC   Coca-Cola FoodService and Coca-Cola Refreshments USA       Marketing agreement to exclusively market and sell Coca-Cola beverages and
                                                                                            agrees to certain minimum purchase and other requirements.
                                 Po Box 8500S-2735
                                 Philadelphia, PA 19178-2735

Revel Entertainment Group, LLC   Cognitive Box Consulting LLC                               Master Service Agreement
                                 107 Wilcox Road
                                 Suite 115
                                 Stonington, CT 06378
Revel AC, Inc.                   Colony Insurance Co                                        Insurance Policy
                                 PO Box 85122
                                 Richmond, VA 23285

Revel Entertainment Group, LLC   Com1 Consulting                                            Proposal for hardware, software and maintenance
                                 3 Gregory Street
                                 Hazlet, NJ 07730

Revel Entertainment Group, LLC   Continent 8 LLC                                            Colocation agreement
                                 4900 North Ocean Blvd, Suite 319
                                 Fort Lauderdale, FL 33308

Revel AC, Inc.                   Continental Casualty                                       Insurance Policy
                                 125 Broad Street, 8th Floor
                                 New York, NY 10004

Revel AC, Inc.                   Continental Casualty                                       Insurance Policy
                                 125 Broad Street, 8th Floor
                                 New York, NY 10004

Revel Entertainment Group, LLC   Copier Plus                                                Office Equipment Agreement
                                 3112 Fire Road Unit C
                                 Egg Harbor Twp., NJ 08234

Revel Entertainment Group, LLC   Crestron Electronics, Inc.                                 Authorization to use photographs and/or audio/video
                                 PO Box 932917
                                 Atlanta, GA 31193

Revel Entertainment Group, LLC   Cummins-Allison Corp.                                      Preventive Maintenance Inspection Agreement for Jet Scan, Jet Sort and
                                                                                            Shredder
                                 Cummins-Allison Corp.
                                 Mt. Prospect, IL 60056
                    Case 14-22654-MBK
                      Case 14-22654-GMBDoc 1138
                                         Doc   707-4Filed  01/08/15
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        SELLER ENTITY                                     COUNTERPARTY                                          DESCRIPTION
Revel Entertainment Group, LLC   Cummins-Allison Corp.                             Addendum to Preventative Maintenance Inspection Agreement
                                 Cummins-Allison Corp.
                                 Mt. Prospect, IL 60056

Revel Entertainment Group, LLC   Currency Counting Consultants, LLC                Software Service Agreement
                                 290 Hansen Access Road
                                 King of Prussia, PA 19406

Revel Entertainment Group, LLC   Cvent Supplier Network                            Marketing agreement
                                 8180 Greensboro Drive, Suite 900
                                 McLean, VA 22102

Revel Entertainment Group, LLC   CVPS, Inc                                         Master services agreement
                                 9514 Glenhaven Drive
                                 PO Box 638
                                 Glenhaven, CA 95443
Revel Entertainment Group, LLC   De La Rue North America Inc.                      Purchase agreement for equipment, software and services.
                                 6401 Commerce Drive
                                 Irving, TX 75063

Revel Entertainment Group, LLC   De La Rue North America Inc.                      Agreement for the performance of equipment maintenance
                                 6401 Commerce Drive
                                 Irving, TX 75063

Revel AC, Inc.                   Deborah DeMars                                    Stock purchase agreement
                                 9429 Holbrook Drive
                                 Orlando, FL 32817

Revel Entertainment Group, LLC   Deloitte Consulting LLP                           Consulting agreement
                                 P.O. Box 7247-6447
                                 Philadelphia, PA 19170-6447

Revel Entertainment Group, LLC   Delphic Digital                                   Maintenance Agreement
                                 116 Shurs Lane 2nd Floor
                                 Philadephia, PA 19127-1726

Revel Entertainment Group, LLC   Denim Habit                                       Lease agreement for denim clothing store.
                                 346 W. 14th Street
                                 New York, NY 10014

Revel Entertainment Group, LLC   DEQ Systems Corp                                  G3 license agreement
                                 1840 1st Street
                                 Suite 103-A
                                 St Romuald, QC G6W 5M6
                    Case 14-22654-MBK
                      Case 14-22654-GMBDoc 1138
                                         Doc   707-4Filed  01/08/15
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        SELLER ENTITY                                 COUNTERPARTY                                            DESCRIPTION
Revel Entertainment Group, LLC   DEQ Systems Corp                               EZ Baccarat and EZ Trak license agreement
                                 1840 1st Street
                                 Suite 103-A
                                 St Romuald, QC G6W 5M6
Revel Entertainment Group, LLC   Digi Deal Corp.                                Gaming Equipment Leasing Agreement
                                 5207 E. Third Avenue
                                 Spokane, WA 99212

Revel Entertainment Group, LLC   DNA2050 Emporium                               Lease agreement for a clothing store.
                                 3238 Prospect Street NW
                                 Washington, DC 20007

Revel Entertainment Group, LLC   Dr. Kenneth Noisewater, Inc                    Agreement with artist for certain engagements
                                 15260 Ventura Blvd
                                 Suite #2100
                                 Sherman Oaks, CA 91403
Revel Entertainment Group, LLC   E.W. Cox USA                                   Building maintenance unit agreement
                                 216 North Avenue East
                                 Cranford, NJ 07016

Revel Entertainment Group, LLC   E.W. Cox USA, Inc.                             Building Maintenance Unit Agreement
                                 216 North Avenue East
                                 Cranford, NJ 07016

Revel Entertainment Group, LLC   E>Connect, Inc.                                Software support agreement
                                 10180 Corbett Street
                                 Las Vegas, NV 89149

Revel Entertainment Group, LLC   East Coast Outdoor Advertising LLC             Billboard sign display contract
                                 1616 Pacific Avenue
                                 Suite 500
                                 Atlantic City, NJ 08401
Revel Entertainment Group, LLC   E-Builder, Inc.                                Service agreement
                                 1800 NW 69th Avenue #201
                                 Plantation, FL 33313

Revel Entertainment Group, LLC   E-Builder, Inc.                                Service agreement Addendum
                                 1800 NW 69th Avenue #201
                                 Plantation, FL 33313

Revel Entertainment Group, LLC   E-Builder, Inc.                                Work Order
                                 1800 NW 69th Avenue #201
                                 Plantation, FL 33313
                    Case 14-22654-MBK
                      Case 14-22654-GMBDoc 1138
                                         Doc   707-4Filed  01/08/15
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        SELLER ENTITY                                   COUNTERPARTY                                           DESCRIPTION
Revel Entertainment Group, LLC   Ecolab Inc.                                     Product and Services Supply Agreement
                                 P.O. Box 905327
                                 Charlotte, NC 28290-5327

Revel Entertainment Group, LLC   Elder Pest Control, Inc.                        Pest Control Program Contract
                                 P.O. Box 169
                                 Absecon, NJ 08201

Revel Entertainment Group, LLC   ELITE Casino Marketing Group Inc                The FASHIONISTAS Show Agreement
                                 199 New Road
                                 Suite 61
                                 Linwood, NJ 08221
Revel Entertainment Group, LLC   ELITE Casino Marketing Group Inc                The Latin Quarter
                                 199 New Road
                                 Suite 61
                                 Linwood, NJ 08221
Revel Entertainment Group, LLC   eMarker, LLC                                    Communications system lease
                                 3616 Hoods Hill Road
                                 Nashville, TN 37215

Revel Entertainment Group, LLC   Emerge Artist Development                       Agreement for Professional Consulting Services
                                 80 Perry Road
                                 Petersburg, NJ 08270

Revel Entertainment Group, LLC   Employee Relations Solutions                    Legal and Human Resources Consulting Agreement
                                 Two University Plaza Ste 507
                                 Hackensack, NJ 07601

Revel Entertainment Group, LLC   Employment Screening Services                   Consumer Report User's Agreement for pre-employment screening
                                 2500 Southlake Park
                                 Birmingham, AL 35244

Revel Entertainment Group, LLC   Encore Productions, Inc.                        Hotel Services Concession Agreement
                                 PO Box 29839
                                 Phoenix, AZ 85038

Revel AC, Inc.                   Endurance                                       Insurance Policy
                                 750 Third Avenue
                                 New York, NY 10017

Revel AC, Inc.                   Endurance                                       Insurance Policy
                                 750 Third Avenue
                                 New York, NY 10017
                    Case 14-22654-MBK
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        SELLER ENTITY                                    COUNTERPARTY                                            DESCRIPTION
Revel AC, Inc.                   Epiq Systems                                     Consulting Agreement
                                 757 Third Avenue 3rd Floor
                                 New York, NY 10017

Revel Entertainment Group, LLC   Equifax Information Services, LLC                FirstSearch Service Addendum
                                 P.O. Box 105835
                                 Atlanta, GA 30348-5835

Revel Entertainment Group, LLC   Eric Mayo, Believe Publications                  Professional Consulting Services Agreement
                                 P.O. Box 1671
                                 Pleasantville, NJ 08232

Revel AC, Inc.                   Essex Insurance Co                               Insurance Policy
                                 4521 Highwoods Parkway
                                 Glen Allen, VA 23060

Revel Entertainment Group, LLC   Euro RSCG New York                               Location/Name Release agreement
                                 200 Hudson Street
                                 New York, NY 10013

Revel AC, Inc.                   Everest Indemnity Insurance Company              Insurance Policy
                                 Westgate Corporate Center
                                 477 Martinsville Road
                                 Liberty Corner, NJ 07938
Revel Entertainment Group, LLC   Exhale Enterprises                               Trademark Cross-License Agreement: BASK EXHALE
                                 250 West 57th Street
                                 New York, NY 10107

Revel Entertainment Group, LLC   Exhale Enterprises XXI, Inc.                     Management Agreement under the Lease Agreement for Exhale Spa.
                                 250 West 57th Street
                                 New York, NY 10107

Revel Entertainment Group, LLC   Exhale Enterprises XXI, Inc.                     Property lease agreement for Exhale spa.
                                 250 West 57th Street
                                 New York, NY 10107

Revel Entertainment Group, LLC   Eye to Eye Media LLC                             The Aqua Billboard Boat Advertising Agreement
                                 43 Woodbine Road
                                 Woodbine, NJ 08270

Revel Entertainment Group, LLC   EyeMed Vision Care                               Vision Plan Summary
                                 Combined Ins Co of America
                                 P.O. Box 8069
                                 Chicago, IL 60680-8069
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        SELLER ENTITY                                     COUNTERPARTY                                                       DESCRIPTION
Revel Entertainment Group, LLC   Fab Faux Inc                                                 Booking agreement
                                 250 W 24th Street #4FW
                                 New York, NY 10011

Revel Entertainment Group, LLC   Farmer Bros. Co.                                             Purchase Agreement for coffee products
                                 PO Box 79705
                                 City of Industry, CA 91716-9705

Revel Entertainment Group, LLC   Farmers Bros. Co.                                            Coffee Supplier
                                 PO Box 79705
                                 City of Industry, CA 91716-9705

Revel Entertainment Group, LLC   Fashion Works Atlantic City, LLC d/b/a Hugo Boss             Lease agreement for Hugo Boss in Revel.
                                 1950 Old Cuthbert Road
                                 Cherry Hill, NJ 08034

Revel Entertainment Group, LLC   FC USA Inc                                                   LibGo Travel Agreement
                                 1936 McArthur Road
                                 Whitehall, PA 18052

Revel Entertainment Group, LLC   Four Winds Interactive LLC                                   Software License Agreement
                                 P.O. Box 912441
                                 Denver, CO 80291-2441

Revel Entertainment Group, LLC   Four Winds Interactive LLC                                   Interactive Software Maintenance and Professional Services Agreement
                                 P.O. Box 912441
                                 Denver, CO 80291-2441

Revel Entertainment Group, LLC   Franco Pilli                                                 Executive Employment Agreement
                                 3 Ridgewood Drive
                                 Northfield, NJ 08225

Revel AC, Inc.                   Freedom Specialty                                            Insurance Policy
                                 7 WTC 250 Greenwich St, 33rd Fl
                                 New York, NY 10007

Revel AC, Inc.                   Freedom Specialty                                            Insurance Policy
                                 7 WTC 250 Greenwich St, 33rd Fl
                                 New York, NY 10007

Revel Entertainment Group, LLC   Galaxy Gaming, Inc                                           Lease license agreement
                                 6767 Spencer Street
                                 Las Vegas, NV 89119
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        SELLER ENTITY                                    COUNTERPARTY                                             DESCRIPTION
Revel Entertainment Group, LLC   Galloway National Golf Club                      Golf agreement
                                 270 South New York Road
                                 Route 9
                                 Galloway, NJ 08205
Revel Entertainment Group, LLC   GARDA CL Atlantic, Inc.                          Armored Car Service Agreement
                                 3209 Momentum Place
                                 Chicago, IL 60689-5332

Revel Entertainment Group, LLC   Garden State Laboratories Inc.                   Bacteriological and chemical sampling and analysis
                                 410 Hillside Avenue
                                 Hillside, NJ 07205

Revel Entertainment Group, LLC   Garden State Outdoor, L.L.C.                     Marketing agreement to post and maintain outdoor billboard sign and display of
                                                                                  Customer.
                                 1616 Pacific Avenue
                                 Suite 500
                                 Atlantic City, NJ 08401
Revel Entertainment Group, LLC   Gartner, Inc.                                    Service Agreement for IT Leaader Advisor Workgroup Role
                                 P.O. Box 911319
                                 Dallas, TX 75391

Revel Entertainment Group, LLC   Global Cash Access, Inc.                         Global Cash Access Master Services Agreement
                                 3525 E. Post Rd.
                                 Las Vegas, NV 89120

Revel Entertainment Group, LLC   Global Cash Access, Inc.                         Cash Access Services Schedule
                                 3525 E. Post Rd.
                                 Las Vegas, NV 89120

Revel Entertainment Group, LLC   Global Cash Access, Inc.                         Installation and maintenance of ATM machines
                                 3525 E. Post Rd.
                                 Las Vegas, NV 89120

Revel Entertainment Group, LLC   Globe Vending Company Inc.                       Vending machines contract
                                 111 East Parkway Drive
                                 Egg Harbor Township, NJ
                    Case 14-22654-MBK
                      Case 14-22654-GMBDoc 1138
                                         Doc   707-4Filed  01/08/15
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        SELLER ENTITY                                    COUNTERPARTY                                                       DESCRIPTION
Revel Entertainment Group, LLC   Graham Curtin A Professional                                Legal engagement letter
                                 Accounts Receivable
                                 P.O. Box 1991
                                 Morristown, NJ 07962-1991
Revel AC, Inc.                   Gregory Roselli                                             Indemnification Agreement
                                 1333 Hudson Street #707
                                 Hoboken, NJ 07030

Revel Entertainment Group, LLC   GRGAC1, LLC d/b/a AMADA                                     Restaurant property lease agreement
                                 2929 Arch Street
                                 Philadelphia, PA 19104

Revel Entertainment Group, LLC   GRGAC1, LLC d/b/a AMADA                                     Restaurant property lease agreement (1st Amendment)
                                 2929 Arch Street
                                 Philadelphia, PA 19104

Revel Entertainment Group, LLC   GRGAC1, LLC d/b/a Distrito Cantina/Guapos Tacos             Restaurant property lease agreement
                                 2929 Arch Street
                                 Philadelphia, PA 19104

Revel Entertainment Group, LLC   GRGAC1, LLC d/b/a Distrito Cantina/Guapos Tacos             Restaurant property lease agreement (1st Amendment)
                                 2929 Arch Street
                                 Philadelphia, PA 19104

Revel Entertainment Group, LLC   GRGAC1, LLC d/b/a Village Whiskey                           Restaurant property lease agreement
                                 2929 Arch Street
                                 Philadelphia, PA 19104

Revel Entertainment Group, LLC   GRGAC1, LLC d/b/a Village Whiskey                           Restaurant property lease agreement (1st Amendment)
                                 2929 Arch Street
                                 Philadelphia, PA 19104

Revel Entertainment Group, LLC   GrouponLive                                                 Merchant Agreement
                                 600 West Chicago Avenue, Suite 620
                                 Chicago, Il 60654

Revel AC, Inc.                   Herman Caucci Landscape Contractors, Inc.                   Landscape Maintenance Services
                                 1406 Shore Rd.
                                 Linwood, NJ 08221

Revel Entertainment Group, LLC   Hopson Associates                                           Agreement for Professional Consulting Services
                                 46 S. Second Street
                                 3rd Floor
                                 Philadelphia, PA 19106-4519
                    Case 14-22654-MBK
                      Case 14-22654-GMBDoc 1138
                                         Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                    COUNTERPARTY                                                          DESCRIPTION
Revel Entertainment Group, LLC   Horizon Blue Cross Blue Shield of New Jersey, Inc.             Dental Plan (High Option)
                                 P.O. Box 1738
                                 Newark, NJ 07101

Revel Entertainment Group, LLC   Horizon Blue Cross Blue Shield of New Jersey, Inc.             Dental Plan (Low Option)
                                 P.O. Box 1738
                                 Newark, NJ 07101

Revel Entertainment Group, LLC   Horizon Blue Cross Blue Shield of New Jersey, Inc.             Medical Benefits Agreement (Basic)
                                 P.O. Box 1738
                                 Newark, NJ 07101

Revel Entertainment Group, LLC   Horizon Blue Cross Blue Shield of New Jersey, Inc.             Medical Benefits Agreement (Select)
                                 P.O. Box 1738
                                 Newark, NJ 07101

Revel Entertainment Group, LLC   Hospitality Careers Online, Inc. d/b/a Hcareers                Services Agreement
                                 PO Box 673682
                                 Detroit, MI 48267

Revel Entertainment Group, LLC   Hoss Marketing Group                                           Independent agent agreement
                                 2850 Horizon Ridge Parkway
                                 Suite 200
                                 Henderson, NV 89052
Revel Entertainment Group, LLC   Hotels at Home, Inc.                                           Marketing Services Agreement
                                 208 Passaic Avenue
                                 Fairfield, NJ 07004

Revel Entertainment Group, LLC   Hotwire Communications Ltd                                     1st amendment to the guest connect agreement
                                 P.O. Box 57330
                                 Philadelphia, PA 19111-7330

Revel Entertainment Group, LLC   Hotwire Communications Ltd                                     Addendum A - add on content
                                 P.O. Box 57330
                                 Philadelphia, PA 19111-7330

Revel Entertainment Group, LLC   Hotwire Communications Ltd                                     Guest connect agreement
                                 P.O. Box 57330
                                 Philadelphia, PA 19111-7330

Revel Entertainment Group, LLC   Hotwire Communications Ltd                                     2nd amendment to the guest connect agreement
                                 P.O. Box 57330
                                 Philadelphia, PA 19111-7330
                    Case 14-22654-MBK
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                                         Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                    COUNTERPARTY                                           DESCRIPTION
Revel Entertainment Group, LLC   Howie Day Touring Inc                            Entertainment Contract
                                 PO Box 220307
                                 Boston, MA 02122

Revel Entertainment Group, LLC   IBM Credit LLC                                   Software/Services Financing Agreement
                                 International Business Machine
                                 PO Box 643600
                                 Pittsburgh, PA 15264-3600
Revel Entertainment Group, LLC   Idea Boardwalk                                   The original lease was between Revel and AMG Boardwalk.
                                                                                  Contact is from Ikea Boardwalk - Michael Barry
                                 5555 Badura Avenue
                                 Las Vegas, NV 89119

Revel Entertainment Group, LLC   International Game Technology (IGT)              3/28/2012 Systems General T&C Agreement
                                 6355 S. Buffalo Drive                            Advantage Schedule to 3/28/2012 Systems General T&C Agmt.
                                 Las Vegas, NV 89113-7866                         Contract change orders dated 7/5/2012 and 3/13/2013

Revel Entertainment Group, LLC   International Game Technology (IGT)              Consulting Services Addendums to the Systems
                                 6355 S. Buffalo Drive                            General T&C Agreement dated 5/21/2013 and 10/30/2013
                                 Las Vegas, NV 89113-7866

Revel Entertainment Group, LLC   International Game Technology (IGT)              Mutual Nondisclosure Agreement dated 5/27/2009
                                 6355 S. Buffalo Drive
                                 Las Vegas, NV 89113-7866

Revel Entertainment Group, LLC   International Game Technology (IGT)              Letter Agreement Proposal dated 11/8/2011
                                 6355 S. Buffalo Drive
                                 Las Vegas, NV 89113-7866

Revel Entertainment Group, LLC   International Game Technology (IGT)              Financing and Security Agreement (System General Terms
                                 6355 S. Buffalo Drive                            & Conditions Agreement and Sales Order) and Amendment dated 12/7/2011 and
                                                                                  amendments
                                 Las Vegas, NV 89113-7866                         dated 2/21/2012 and 3/30/2012

Revel Entertainment Group, LLC   International Game Technology (IGT)              Nondisclosure Agreement dated 12/8/2011
                                 6355 S. Buffalo Drive
                                 Las Vegas, NV 89113-7866

Revel Entertainment Group, LLC   International Game Technology (IGT)              Nondisclosure Agreement dated 12/18/2011
                                 6355 S. Buffalo Drive
                                 Las Vegas, NV 89113-7866
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                                         Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                   COUNTERPARTY                                            DESCRIPTION
Revel Entertainment Group, LLC   International Game Technology (IGT)             Sale of equipment standard terms and conditions agreement
                                 6355 S. Buffalo Drive                           dated 12/24/2011
                                 Las Vegas, NV 89113-7866

Revel Entertainment Group, LLC   International Game Technology (IGT)             IGT Machine Optioning Customer Owned Game Movement Waiver dated
                                                                                 1/5/2012
                                 6355 S. Buffalo Drive                           Equipment Waiver dated 1/5/2012
                                 Las Vegas, NV 89113-7866

Revel Entertainment Group, LLC   International Game Technology (IGT)             Microsoft End-User License OTA
                                 6355 S. Buffalo Drive
                                 Las Vegas, NV 89113-7866

Revel Entertainment Group, LLC   International Game Technology (IGT)             Standard T&C Agreement - IGT Stand Alone, Wide Area
                                 6355 S. Buffalo Drive                           Progressive & Multi-Player OTA dated 3/23/2012
                                 Las Vegas, NV 89113-7866                        NJ Addendum dated 3/29/2012

Revel Entertainment Group, LLC   International Game Technology (IGT)             Agreements for Instant and Annuity Pay MegaJackpot Systems
                                 6355 S. Buffalo Drive                           and Addendum Thereto (each dated 3/22/2012)
                                 Las Vegas, NV 89113-7866

Revel Entertainment Group, LLC   International Game Technology (IGT)             Multihand Poker IP License Agreement dated 3/30/2012
                                 6355 S. Buffalo Drive
                                 Las Vegas, NV 89113-7866

Revel Entertainment Group, LLC   International Game Technology (IGT)             Confidential Disclosure and License Agreement dated 1/9/2013
                                 6355 S. Buffalo Drive
                                 Las Vegas, NV 89113-7866

Revel Entertainment Group, LLC   Illy Cafe North America Inc                     Customer Equipment Agreement for sold and loaned coffee equipment
                                 PO Box 29917
                                 New York, NY 10087

Revel Entertainment Group, LLC   In Bet Gaming Inc.                              License agreement
                                 206 Barlow Ave
                                 Cherry Hill, NJ 08002

Revel Entertainment Group, LLC   Infinium Software Inc                           Component systems license agreement
                                 PO Box 843313
                                 Los Angeles, CA 90084-3313

Revel Entertainment Group, LLC   Infinium Software Inc                           Component systems license agreement
                                 PO Box 843313
                                 Los Angeles, CA 90084-3313
                    Case 14-22654-MBK
                      Case 14-22654-GMBDoc 1138
                                         Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                    COUNTERPARTY                                                           DESCRIPTION
Revel Entertainment Group, LLC   Infinium Software, Inc.                                         Services Work Order to provide general consulting and project management
                                 PO Box 843313
                                 Los Angeles, CA 90084-3313

Revel Entertainment Group, LLC   Innovative Service Solutions                                    Guest room technology services
                                 208 Allen Drive
                                 Exton, PA 19341

Revel Entertainment Group, LLC   Innsight Reports, LLC d/b/a GoConcierge.net                     Web Access License Agreement
                                 15433 Ventura Blvd
                                 Sherman Oaks, CA 91403

Revel Entertainment Group, LLC   Insurance Services Office, Inc                                  Master agreement
                                 545 Washington Boulevard
                                 Jersey City, NJ 07310-1686

Revel Entertainment Group, LLC   Insurance Services Office, Inc.                                 Master Agreement
                                 545 Washington Boulevard
                                 Jersey City, NJ 07310-1686

Revel Entertainment Group, LLC   Integrated Energy Development, LLC                              Consulting Services for Revel Monthly Energy Billing
                                 50 Horseshoe Drive
                                 Mount Laurel, NJ 08054

Revel Entertainment Group, LLC   International Business Machines Corp. (IBM)                     Customer agreement to purchase machines, licensed ICA programs.
                                 PO Box 643600
                                 Pittsburgh, PA 15264-3600

Revel Entertainment Group, LLC   International Business Machines Corp. (IBM)                     Contract to acquire several software programs as well as software maintenance
                                                                                                 or subscriptions.
                                 PO Box 643600
                                 Pittsburgh, PA 15264-3600

Revel Entertainment Group, LLC   International Union of Operating Engineers Local 68             Collective Bargaining Agreement terms and conditions.
                                 4425 Atlantic Avenue
                                 Atlantic City, NJ 08401

Revel Entertainment Group, LLC   Interstate Outdoor Advertising LP                               Bulletin contract
                                 905 North Kings Highway
                                 Cherry Hill, NJ 08034

Revel Entertainment Group, LLC   Interstate Outdoor Advertising LP                               Bulletin contract
                                 905 North Kings Highway
                                 Cherry Hill, NJ 08034
                    Case 14-22654-MBK
                      Case 14-22654-GMBDoc 1138
                                         Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                    COUNTERPARTY                                             DESCRIPTION
Revel Entertainment Group, LLC   InvoTech Systems, Inc.                            Software license and maintenance agreement
                                 16530 Ventura Blvd Ste 603
                                 Encino, CA 91436

Revel AC, Inc.                   Ironshore Specialty Insurance Company             Insurance Policy
                                 One State Street, 7th Floor
                                 New York, NY 10004

Revel AC, Inc.                   Israel Del Rio                                    Stock purchase agreement
                                 1409 Nerine Cir.
                                 Atlanta, GA 30338

Revel Entertainment Group, LLC   IUPAT District Council 711                        Collective Bargaining Agreement terms and conditions.
                                 c/o Frank M Vaccaro & Assoc
                                 27 Roland Ave Suite 200
                                 Mt Laurel, NJ 08054
Revel Entertainment Group, LLC   JD Casino Services LLC                            Independent agent agreement
                                 601 Central Avenue
                                 Egg Harbor Township, NJ 08234

Revel Entertainment Group, LLC   Jeanette Sherman                                  Executive Employment Agreement
                                 255 South Zurich Avenue
                                 Egg Harbor City, NJ 08215

Revel Entertainment Group, LLC   Jeanette Sherman                                  Executive Employment Agreement (1st Amendment)
                                 255 South Zurich Avenue
                                 Egg Harbor City, NJ 08215

Revel AC, Inc.                   Jeffrey J Dahl                                    Indemnification Agreement
                                 801 Montreux Avenue
                                 Colleyville, TX 76034

Revel Entertainment Group, LLC   Jetsetter                                         Hotel Supplier Agreement
                                 2 Park Avenue 4th Floor
                                 New York, NY 10017

Revel Entertainment Group, LLC   John Gunnels                                      Executive Employment Agreement
                                 814 Harlequin Drive
                                 Gallowway, NJ 08205

Revel AC, Inc.                   John Krasznekewicz                                Indemnification Agreement
                                 8th & San Carlos Suite S-3069
                                 Carmel, CA 93921
                    Case 14-22654-MBK
                      Case 14-22654-GMBDoc 1138
                                         Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                       COUNTERPARTY                                                    DESCRIPTION
Revel AC, Inc.                   Joseph Nicosia                                         Stock purchase agreement
                                 6404 Monmouth Ave
                                 Ventnor, NJ 08406

Revel Entertainment Group, LLC   JT Packard                                             UPS and battery service agreement
                                 275 Investment Court
                                 Verona, WI 53593

Revel Entertainment Group, LLC   Kane's Royal Jelly Burlesque Nightclub                 Property lease agreement for nightclub venue.
                                 450 N. Rossmore Ave. Suite 502
                                 Los Angeles, CA 90004

Revel Entertainment Group, LLC   Kekst and Company, Incorporated                        Provide corporate communications advice
                                 437 Madison Avenue
                                 New York, NY 10022-7016

Revel Entertainment Group, LLC   Key Consulting/Software, Inc.                          Independent contractor agreement
                                 PO Box 19238
                                 Reno, NV 89511

Revel Entertainment Group, LLC   Keystone Outdoor Advertising Company, Inc.             Contract for bulletin advertising
                                 P.O. Box 202
                                 Cheltenham, PA 19012-0202

Revel Entertainment Group, LLC   KGM Gaming                                             Gaming equipment purchase and software license agreement
                                 4250 Wissahickon Avenue
                                 Phildelphia, PA 19129

Revel Entertainment Group, LLC   KGM Gaming                                             Gaming equipment purchase and software license agreement
                                 4250 Wissahickon Avenue
                                 Phildelphia, PA 19129

Revel Entertainment Group, LLC   Knitting Factory Presents                              Service agreement to pay Knitting Factory Presents as agent with respect to the
                                                                                        performance of “Capital Cities” at the Social entertainment venue within the
                                                                                        Revel casino, hotel and resort.
                                 418 S 9th Street Ste 306
                                 Boise, ID 83702

Revel Entertainment Group, LLC   Konami Gaming Equipment                                Purchase and an lease agreement for gaming devices.
                                 PO Box 848401
                                 Los Angeles, CA 90084-8401

Revel Entertainment Group, LLC   Konami Gaming Equipment                                Amendment to purchase order
                                 PO Box 848401
                                 Los Angeles, CA 90084-8401
                    Case 14-22654-MBK
                      Case 14-22654-GMBDoc 1138
                                         Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                   COUNTERPARTY                                                         DESCRIPTION
Revel Entertainment Group, LLC   Konami Gaming Equipment                                      Gaming Device Agreement
                                 PO Box 848401
                                 Los Angeles, CA 90084-8401

Revel Entertainment Group, LLC   Konami Gaming Equipment                                      Gaming Device Agreement
                                 PO Box 848401
                                 Los Angeles, CA 90084-8401

Revel AC, Inc.                   Landmark                                                     Insurance Policy
                                 945 East Paces Ferry Road, Suite 1800
                                 Atlanta, GA 30326

Revel AC, Inc.                   Lexington Insurance Company                                  Insurance Policy: Policy No. 1619075
                                 1650 Market Street, Suite 3700
                                 Philadelphia, PA 19103

Revel Entertainment Group, LLC   Liam Josh Corporation                                        Entertainment Contract
                                 c/o Artist in Mind
                                 14100 Dickens Street #1
                                 Sherman Oak, CA 91423
Revel AC, Inc.                   Liberty Mutual                                               Insurance Policy
                                 55 Water Street
                                 New York, NY 10041

Revel AC, Inc.                   Liberty Surplus Insurance Co                                 Insurance Policy
                                 177 Berkely Street
                                 Boston, MA 02116

Revel Entertainment Group, LLC   Lightning Poker, Inc. d/b/a Lightning Slots, LLC             Master Proprietary Lease and License Agreement for gaming machines
                                 23 Creek Circle, Suite 400
                                 Boothwyn, PA 19061

Revel Entertainment Group, LLC   Lisa Johnson Communications                                  Consulting Contract
                                 21 Hideaway Lane
                                 Egg Harbor Twp., NJ 08234

Revel Entertainment Group, LLC   Livingsocial Inc                                             Merchant service agreement
                                 1445 New York Ave, NW 2nd Floor
                                 Washington, DC 20005

Revel AC, Inc.                   Lloyds of London                                             Insurance Policy
                                 Marsh Bowring
                                 Tower Place
                                 London EC3R 5BU
                    Case 14-22654-MBK
                      Case 14-22654-GMBDoc 1138
                                         Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                    COUNTERPARTY                                              DESCRIPTION
Revel AC, Inc.                   Lloyds of London                                  Insurance Policy
                                 Marsh Bowring
                                 Tower Place
                                 London EC3R 5BU
Revel AC, Inc.                   Lloyds of London                                  Insurance Policy
                                 Marsh Bowring
                                 Tower Place
                                 London EC3R 5BU
Revel AC, Inc.                   Lloyds of London                                  Insurance Policy
                                 Marsh Bowring
                                 Tower Place
                                 London EC3R 5BU
Revel AC, Inc.                   Lloyds of London                                  Insurance Policy
                                 Marsh Bowring
                                 Tower Place
                                 London EC3R 5BU
Revel Entertainment Group, LLC   Logic Solutions Group                             DataStage and SSIS consulting
                                 303 Brame Road
                                 Ridgeland, MS 39157

Revel Entertainment Group, LLC   Longport Media, LLC                               Radio Marketing Agreement
                                 1601 New Road
                                 Linwood, NJ 08221

Revel Entertainment Group, LLC   Loretta Pickus                                    Executive Employment Agreement
                                 2317 Burroughs Ave
                                 Northfield, NJ 08225

Revel Entertainment Group, LLC   Lori Loveland                                     Executive Employment Agreement
                                 16 Sturbridge Court
                                 Egg Harbor Township, New Jersey 08234
                    Case 14-22654-MBK
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                                         Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                     COUNTERPARTY                                            DESCRIPTION

Revel Entertainment Group, LLC   Lugo AC, LLC                                      Restaurant property lease agreement
                                 450 Seventh Avenue
                                 Suite 4200
                                 New York, NY 10123
Revel Entertainment Group, LLC   Lugo AC, LLC                                      Restaurant property lease agreement (1st Amendment)
                                 450 Seventh Avenue
                                 Suite 4200
                                 New York, NY 10123
Revel Entertainment Group, LLC   Lugo AC, LLC                                      Restaurant property lease agreement (2nd Amendment)
                                 450 Seventh Avenue
                                 Suite 4200
                                 New York, NY 10123
Revel Entertainment Group, LLC   Luke's Kitchen and Marketplace                    Restaurant property lease agreement
                                 526 Pacific Avenue #1101
                                 Atlantic City, NJ 08401

Revel AC, Inc.                   Lyndon Stockton                                   Stock purchase agreement
                                 15 Fischer Road
                                 Linwood, NJ 08221

Revel AC, Inc.                   Maiden Re                                         Insurance Policy
                                 379 Thornall Street, 3rd Floor
                                 Edison, NJ 08837

Revel Entertainment Group, LLC   Mariann Gray                                      Executive Employment Agreement
                                 644 Country Club Drive
                                 Egg Harbor City, NJ 08215

Revel AC, Inc.                   Marsh USA Inc                                     Insurance Installment Agreement
                                 1717 Arch Street
                                 Philadelphia, PA 19103

Revel Entertainment Group, LLC   Marsh USA Inc.                                    Marsh to act as insurance broker
                                 P.O. Box 846015
                                 Dallas, TX 75284-6015

Revel AC, Inc.                   Mary Helen Medina                                 Stock purchase agreement
                                 12582 Misty Creek Lane
                                 Fairfax, VA 22033

Revel Entertainment Group, LLC   Masque Publishing, Inc                            Blackjack up-card license agreement
                                 P.O. Box 631520
                                 Highlands Ranch, CO 80163-1520
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        SELLER ENTITY                                   COUNTERPARTY                                                            DESCRIPTION
Revel Entertainment Group, LLC   Masque Publishing, Inc                                          License agreement for two spanish 21 games
                                 P.O. Box 631520
                                 Highlands Ranch, CO 80163-1520

Revel Entertainment Group, LLC   Melity, LLC                                                     Master Services Agreement
                                 265 Davidson Avenue
                                 Suite 205
                                 Somerset, NJ 08873
Revel Entertainment Group, LLC   Merrill Communications, LLC                                     Statement of Work to Merrill Datasite Services Agreement
                                 CM-9638
                                 St Paul, MN 55170

Revel Entertainment Group, LLC   Michael Cammarasana                                             Independent agent agreement
                                 166 Old New York Road
                                 Galloway, NJ 08205

Revel Entertainment Group, LLC   Michael Edward Kelly                                            Employment Agreement
                                 500 Boardwalk
                                 Atlantic City, NJ 08401

Revel AC, Inc.                   Michael Garrity                                                 Stock purchase agreement
                                 7 Howard Drive
                                 Hingham, MA 02043

Revel Entertainment Group, LLC   Micro Gaming Technologies, Inc.                                 Promo Kiosk Software Master License and Support Agreement
                                 7690 W Sahara
                                 Las Vegas, NV 89117

Revel Entertainment Group, LLC   Micro Gaming Technologies, Inc.                                 Addendum to Promo Kiosk Software Master License and Support Agreement

                                 7690 W Sahara
                                 Las Vegas, NV 89117

Revel Entertainment Group, LLC   Micro Gaming Technologies, Inc.                                 Micro Gaming Technologies Promo Kiosk Software Master License and Support
                                                                                                 Agreement and Addendum
                                 7690 W Sahara
                                 Las Vegas, NV 89117

Revel Entertainment Group, LLC   MicroFirst Gaming d/b/a MicroFirst Associates, Inc.             Agreement to provide both remote and on-site support to Revel for the iSeries
                                                                                                 Reservation Web Service Project
                                 11 E Oak Street
                                 Oakland, NJ 07436
                    Case 14-22654-MBK
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                                         Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                     COUNTERPARTY                                                 DESCRIPTION
Revel Entertainment Group, LLC   Microsoft Corporation                                 Service agreement to provide support assistance and problem resolution services.

                                 One Microsoft Way
                                 Redmond, WA 98052

Revel Entertainment Group, LLC   MMAWC LLC dba World Series of Fighting                License Agreement
                                 4631 S Dean Martin Drive
                                 Las Vegas, NV 89103

Revel Entertainment Group, LLC   MMAWC, LLC d/b/a World Series of Fighting             Location Access Agreement
                                 4631 S Dean Martin Drive
                                 Las Vegas, NV 89103

Revel Entertainment Group, LLC   Mobility on Wheels, LLC                               Contract for shared revenue plan
                                 4272 Harbour Beach Blvd
                                 Brigantine, NJ 08203

Revel Entertainment Group, LLC   Mussel Bar AC, LLC                                    Restaurant property lease agreement
                                 2401 Pennsylvania Ave N.W.
                                 Washington, DC 20037

Revel Entertainment Group, LLC   Nancy Saam                                            Agreement for Professional Consulting Services for event décor
                                 322 Grays Lane
                                 Haverford, PA 19041

Revel Entertainment Group, LLC   Nanta Cowen                                           Independent agent agreement
                                 112 Daphne Drive
                                 Galloway, NJ 08205

Revel AC, Inc.                   National Specialty                                    Insurance Policy
                                 10900 NE 8th Street, Suite 1170
                                 Bellevue, WA 98004

Revel AC, Inc.                   National Union Fire Ins. Of Pit                       Settlement Agreement
                                 175 Water Street
                                 New York, NY 10038

Revel AC, Inc.                   Neil Cantor                                           Stock purchase agreement
                                 5707 Mohican Place
                                 Bethesda, MD 20816

Revel Entertainment Group, LLC   Nelbud                                                ESP cell exchanges
                                 P.O. Box 271
                                 Egg Harbor City, NJ 08215
                      Case 14-22654-MBK
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                                           Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                  COUNTERPARTY                                                   DESCRIPTION
Revel Entertainment Group, LLC   Nelbud                                                Change frequency of Relish
                                 P.O. Box 271
                                 Egg Harbor City, NJ 08215

Revel Entertainment Group, LLC   Nelbud                                                General service agreement
                                 P.O. Box 271
                                 Egg Harbor City, NJ 08215

Revel Entertainment Group, LLC   Network Construction Co., Inc.                        Agreement to dismantle and remove construction trailers
                                 1410 South New Road
                                 PO Box 1475
                                 Pleasantville, NJ 08232
Revel Entertainment Group, LLC   New Cingular Wireless PCS, LLC                        Inbuilding Radio Distribution Agreement
                                 12555 Cingular Way, Suite 1300
                                 Alpharetta, GA 30004

Revel Entertainment Group, LLC   New Jersey Casino Control Commission                  Casino License
                                 Tennessee Ave. & Boardwalk
                                 Atlantic City, NJ 08401

Revel Entertainment Group, LLC   New Jersey Economic Development Authority             Amended and Restated State Economic Redevelopment
                                 PO Box 990                                            and Growth Incentive Grant Agreement
                                 Trenton, NJ 08625

Revel AC, Inc.                   New Jersey Economic Development Authority             Amended and Restated State Economic Redevelopment
                                 PO Box 990                                            and Growth Incentive Grant Agreement
                                 Trenton, NJ 08625

Revel Atlantic City, LLC         New Jersey Economic Development Authority             Amended and Restated State Economic
                                 PO Box 990                                            Redevelopment and Growth Incentive Grant
                                 Trenton, NJ 08625                                     Agreement

Revel Entertainment Group, LLC   Newmarket International, Inc.                         Order Form for CAD Services
                                 P. O. Box 845707
                                 Boston, MA 02284-5707

Revel Entertainment Group, LLC   Newmarket International, Inc.                         Amendment to Master Software License Agreement Order
                                 P. O. Box 845707
                                 Boston, MA 02284-5707

Revel Entertainment Group, LLC   Newmarket International, Inc.                         Master Software License Agreement
                                 P. O. Box 845707
                                 Boston, MA 02284-5707
                    Case 14-22654-MBK
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        SELLER ENTITY                                   COUNTERPARTY                                                           DESCRIPTION
Revel Entertainment Group, LLC   Newmarket International, Inc.                                   Master Software License Agreement
                                 P. O. Box 845707
                                 Boston, MA 02284-5707

Revel Entertainment Group, LLC   NJ DOL & Workforce Development                                  SUI - Amortization schedule and payment plan
                                 Office of Internal Audit
                                 P.O. Box 950
                                 Trenton, NJ 08625-0950
Revel Entertainment Group, LLC   Northeast Regional Council of Carpenters Local #255             Collective Bargaining Agreement terms and conditions.
                                 White Horse Pike
                                 Mullica Township, NJ

Revel Entertainment Group, LLC   Norwegian Cruise Line                                           Event/Promotion Agreement
                                 7665 Corporate Center Drive
                                 Miami, FL 33126

Revel Entertainment Group, LLC   Norwegian Cruise Line                                           Event/Promotion Letter Agreement
                                 7665 Corporate Center Drive
                                 Miami, FL 33126

Revel Entertainment Group, LLC   NuCO2 LLC                                                       Beverage gas equipment/product supply agreement
                                 P.O. Box 9011
                                 Stuart, FL 34995

Revel AC, Inc.                   One Beacon                                                      Insurance Policy
                                 601 Carlson Prky., Suite 600
                                 Minnetonka, MN 10017

Revel Entertainment Group, LLC   OpenTable                                                       Business Listing
                                 799 Market Street
                                 4th Floor
                                 San Francisco, CA 94103
Revel Entertainment Group, LLC   Orbitz Worldwide                                                Addendum to Orbitz Platinum Hotel Participant Program
                                 500 W Madison, Suite 1000
                                 Chicago, IL 60661

Revel Entertainment Group, LLC   Origami Risk LLC                                                Statement of Work
                                 516 Madison Avenue
                                 Glencoe, IL 60022

Revel Entertainment Group, LLC   Origami Risk LLC                                                Software License and Services Agreement
                                 516 Madison Avenue
                                 Glencoe, IL 60022
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        SELLER ENTITY                                    COUNTERPARTY                                                     DESCRIPTION
Revel Entertainment Group, LLC   Otis Elevator Company                                     Maintenance agreement for 22 elevators provided by Otis.
                                 30 Twosome Drive Suite 4
                                 Moorestown, NJ 08057

Revel Entertainment Group, LLC   Outthink, LLC                                             Online Media Center Site Maintenance & Support
                                 8 Railroad Avenue,Suite 110
                                 Essex, CT 06426

Revel Entertainment Group, LLC   Outthink, LLC                                             Retainer Agreement for 6 months for support and
                                 8 Railroad Avenue,Suite 110                               maintenance services
                                 Essex, CT 06426

Revel Entertainment Group, LLC   Ovation Live Inc. d/b/a Ovation Entertainment             Ovation is to be the Talent Buyer for Ovation Hall in the casino.
                                 P.O. Box 238
                                 Oradell, NJ 07649-0238

Revel Entertainment Group, LLC   Ovation Live Inc. d/b/a Ovation Entertainment             Termination letter
                                 P.O. Box 238
                                 Oradell, NJ 07649-0238

Revel Entertainment Group, LLC   Ovation Live Inc. d/b/a Ovation Entertainment             Settlement and mutual releases
                                 P.O. Box 238
                                 Oradell, NJ 07649-0238

Revel Entertainment Group, LLC   Parker Interior Plantscape, Inc.                          Landscape maintenance services
                                 1325 Terrill Road
                                 Scotch Plains, NJ 07076

Revel Entertainment Group, LLC   Passkey International, Inc                                Standard service agreement
                                 PO Box 842485
                                 Boston, MA 02284-2485

Revel AC, Inc.                   Patrik Hellstrand                                         Stock purchase agreement
                                 14343 Burbank Blvd. Unit 303
                                 Sherman Oaks, CA 91401

Revel Entertainment Group, LLC   Paymentech, LLC                                           Chase Paymentech Select Merchant Payment Instrument Processing Agreement

                                 250 West 57th Street
                                 Suite 420
                                 New York, NY 10107
Revel Entertainment Group, LLC   Paymentech, LLC                                           Authorization by Revel to the Bank to disclose to Paymentech financial
                                                                                           information
                                 250 West 57th Street
                                 Suite 420
                                 New York, NY 10107
                      Case 14-22654-MBK
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        SELLER ENTITY                                    COUNTERPARTY                                                     DESCRIPTION
Revel Entertainment Group, LLC   PBC-200 Park Ave, LLC d/b/a/ Carr Workplaces             Office Service Agreement
                                 200 Park Avenue Suite 1700
                                 New York, NY 10166

Revel Entertainment Group, LLC   PBC-200 Park Ave, LLC d/b/a/ Carr Workplaces             Office Service Agreement (1st Amendment)
                                 200 Park Avenue Suite 1700
                                 New York, NY 10166

Revel Entertainment Group, LLC   PBC-200 Park Ave, LLC d/b/a/ Carr Workplaces             Office Service Agreement (2nd Amendment)
                                 200 Park Avenue Suite 1700
                                 New York, NY 10166

Revel AC, Inc.                   Peter E Murphy                                           Indemnification Agreement
                                 1306 Wentworth Avenue
                                 Pasadena, CA 91106

Revel Entertainment Group, LLC   Phigenics                                                Building Water System Management Program Review and Recommendations

                                 1701 Quincy Avenue, Suite 32
                                 Naperville, IL 60540
                                 Naperville, IL 60540

Revel AC, Inc.                   Philadelphia Insurance Company                           Insurance Policy
                                 One Bala Plaza, Suite 100
                                 Bala Cynwyd, PA 19004

Revel Entertainment Group, LLC   Phoenix Digital Imaging                                  Advertising Contract
                                 201 Clayton Street
                                 Chester, PA 19013

Revel Entertainment Group, LLC   Phoenix Digital Imaging                                  Outdoor advertising agreement
                                 201 Clayton Street
                                 Chester, PA 19013

Revel AC, Inc.                   PICC Property & Casualty Company Limited                 Insurance Policy
                                 Block 2, No 2
                                 Jianguomen Outer Street Chaoyang District
                                 Beijing, China 100022
Revel Atlantic City, LLC         PM Atlantic City LLC                                     Amended and restated operating agreement.
                                 t/a Luke's Kitchen & Marketplace
                                 526 Pacific Avenue #1101
                                 Atlantic City, NJ 08401
Revel Entertainment Group, LLC   Polisano Contruction Svce LLC                            Contruction consulting agreement
                                 1010 Plaza Place
                                 Absecon, NJ 08201
                    Case 14-22654-MBK
                      Case 14-22654-GMBDoc 1138
                                         Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                     COUNTERPARTY                                            DESCRIPTION
Revel Entertainment Group, LLC   Power Strategies LLC                              IGT Upgrade January 2013
                                 69 Wamphassuc Road
                                 Stonington, CT 06378

Revel Entertainment Group, LLC   Premier Casino Destinations LLC                   Independent agent agreement
                                 5645 Habersham Valley
                                 Swannee, GA 30024

Revel Entertainment Group, LLC   Presidio Network Solutions, Inc.                  Managed IT services agreement and addendum
                                 110 Parkway Drive
                                 Hauppauge, NY 11788

Revel Entertainment Group, LLC   Presidio Network Solutions, Inc.                  Managed services agreement
                                 110 Parkway Drive
                                 Hauppauge, NY 11788

Revel Entertainment Group, LLC   Presidio Network Solutions, Inc.                  Managed services agreement - Cisco Telephony
                                 110 Parkway Drive
                                 Hauppauge, NY 11788

Revel Entertainment Group, LLC   Priceline.com LLC                                 Property participation agreement
                                 800 Connecticut Avenue
                                 Norwalk, CT 06854

Revel Entertainment Group, LLC   PrideVel Consulting LLC                           Nevotek license and support agreement
                                 387 Shuman Blvd
                                 Suite 205-W
                                 Naperville, IL 60563
Revel Entertainment Group, LLC   PrideVel Consulting LLC                           End User Software License and Support Agreement
                                 387 Shuman Blvd
                                 Suite 205-W
                                 Naperville, IL 60563
Revel Entertainment Group, LLC   Prime Source Purchasing, Inc.                     Contract Agreement for Rebate Programs
                                 1333 Broad Street
                                 Clinton, NJ 07013
                      Case 14-22654-MBK
                        Case 14-22654-GMBDoc 1138
                                           Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                   COUNTERPARTY                                         DESCRIPTION
Revel AC, Inc.                   Principal Trust Company                         Fee Agreement and Acknowledgement Form Revel AC, Inc. Rabbi Trust
                                                                                 Effective May 21, 2013
                                 1013 Centre Road
                                 Wilmington, DE 19805

Revel AC, Inc.                   Principal Trust Company                         Trust under the Revel AC, Inc 2013 management
                                 1013 Centre Road                                equity incentive plan
                                 Wilmington, DE 19805

Revel Entertainment Group, LLC   Prism Media                                     Outdoor advertising display agreement
                                 240 Main Street, #204
                                 Little Falls, NJ 07424

Revel Entertainment Group, LLC   Profero LLC                                     Agreement for Professional Consulting Services for assistance with digital
                                                                                 strategy efforts
                                 386 Park Avenue South
                                 13th Floor
                                 New York, NY 10016
Revel Entertainment Group, LLC   Red Bull North America, Inc.                    Location Agreement
                                 1740 Stewart Street
                                 Santa Monica, CA 90404

Revel Entertainment Group, LLC   Redrock Software                                Software Maintenance Agreement
                                 10120 W. Flamingo Road
                                 Suite 4-348
                                 Las Vegas, NV 89147
Revel Entertainment Group, LLC   RedRock Software, LLC                           Software Licensing Agreement
                                 10120 W. Flamingo Road
                                 Suite 4-348
                                 Las Vegas, NV 89147
Revel Entertainment Group, LLC   Redrock Software, LLC                           Software maintenance agreement
                                 10120 W. Flamingo Road
                                 Suite 4-348
                                 Las Vegas, NV 89147
Revel Entertainment Group, LLC   Resort Advantage, LLC                           Software License, Maintenance and Warranty Agreement
                                 26622 WOODWARD AVE
                                 SUITE 105
                                 ROYAL OAK, MI 48067
Revel Entertainment Group, LLC   Resort Advantage, LLC                           Professional Services Agreement
                                 26622 WOODWARD AVE
                                 SUITE 105
                                 ROYAL OAK, MI 48067
Revel Atlantic City, LLC         Revel Entertainment Group, LLC                  Nonresidential real property - short form of lease
                                 500 Boardwalk
                                 Atlantic City, NJ 08401
                    Case 14-22654-MBK
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                                         Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                    COUNTERPARTY                                                        DESCRIPTION
Revel Entertainment Group, LLC   Revel Group, LLC                                            Letter agreement
                                 375 Park Avenue, Suite 2607
                                 New York, NY 10152

Revel Entertainment Group, LLC   Revel Group, LLC                                            Trademark License Agreement (extended)
                                 375 Park Avenue, Suite 2607
                                 New York, NY 10152

Revel Entertainment Group, LLC   Revel Group, LLC                                            Trademark License Agreement (extended)
                                 375 Park Avenue, Suite 2607
                                 New York, NY 10152

Revel Entertainment Group, LLC   Revel Group, LLC                                            First amendment to trademark license agreement
                                 375 Park Avenue, Suite 2607
                                 New York, NY 10152

Revel Entertainment Group, LLC   Revel Group, LLC                                            Second amendment to trademark license agreement
                                 375 Park Avenue, Suite 2607
                                 New York, NY 10152

Revel Entertainment Group, LLC   Revolution Jewelers                                         Property lease agreement for a jewelry store.
                                 130 Almshouse Road Ste 400
                                 Richboro, PA 18954

Revel Entertainment Group, LLC   Rich Fire Protection                                        Automatic fire suppression system inspection agreement
                                 P.O. Box 1149
                                 Pleasantville, NJ 08232

Revel Entertainment Group, LLC   Richard Haskins                                             Independent agent agreement
                                 10945 State Bridge Road
                                 Suite 401-336
                                 Alpharetta, GA 30022
Revel Entertainment Group, LLC   RR Donnelley                                                Data room services
                                 14100 Lear Blvd
                                 Suite 130
                                 Reno, NV 89506
Revel Entertainment Group, LLC   Ruds Inc (Mtech)                                            Master Service Agreement
                                 9941 West Jessamine Street
                                 Miami, FL 33157

Revel Entertainment Group, LLC   Ruds, Inc. d/b/a MTECH Master Service Agreement             Master Service Agreement
                                 9941 West Jessamine Street
                                 Miami, FL 33157
                    Case 14-22654-MBK
                      Case 14-22654-GMBDoc 1138
                                         Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                      COUNTERPARTY                                                       DESCRIPTION
Revel Entertainment Group, LLC   salesforce.com, Inc                                          Master subscription agreement
                                 P.O. Box 203141
                                 Dallas, TX 75320-3141

Revel Entertainment Group, LLC   Sauce Industries (d/b/a Gray V)                              Music services agreement
                                 1098 W. Willow Street
                                 Louisville, CO 80027

Revel Entertainment Group, LLC   Sauce Industries, LLC d/b/a Gray V                           Music Services Agreement for background music broadcasting services
                                 1098 W. Willow Street
                                 Louisville, CO 80027

Revel Entertainment Group, LLC   SCA Entertainment, LP                                        Contingent prize contract
                                 3030 LBJ Freeway
                                 Suite 300
                                 Dallas, TX 75234
Revel Entertainment Group, LLC   SCA Entertainment, LP                                        Contingenet prize contract
                                 3030 Lyndon B Johnson Frwy., Suite 300
                                 Dallas, TX 75234

Revel Entertainment Group, LLC   SCA Entertainment, LP                                        Addendum A to contingent prize contract
                                 3030 LBJ Freeway
                                 Suite 300
                                 Dallas, TX 75234
Revel Entertainment Group, LLC   Sceptre Hospitality Resources LLC                            Software development services
                                 7600 E. Orchard Road
                                 Suite 230 S
                                 Greenwood Village, CO 80111
Revel Entertainment Group, LLC   Schindler Elevator Corporation                               Maintenance agreement for escalators and elevators.
                                 200 West Parkway Drive
                                 Egg Harbor Township, NJ 08234

Revel Entertainment Group, LLC   Scott Kreeger                                                Executive Employment Agreement
                                 500 Boardwalk
                                 Atlantic City, NJ 08401

Revel Entertainment Group, LLC   SGA Holdings, Inc. d/b/a SGA Production Services             Agreement for Services for equipment rental
                                 3120 Spanish Oak Drive
                                 Lansing, MI 48911

Revel AC, Inc.                   Sherman, Jeanette A.                                         Stock purchase agreement
                                 255 South Zurich Avenue
                                 Egg Harbor City, NJ 08215
                    Case 14-22654-MBK
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        SELLER ENTITY                                     COUNTERPARTY                                                  DESCRIPTION
Revel Entertainment Group, LLC   SHFL Entertainment Inc                            License and Lease Agreement
                                 6650 El Camino Road
                                 Las Vegas, NV 89118

Revel Entertainment Group, LLC   SHFL Entertainment, Inc.                          License Fortune Pai GOW Poker side bet. Lease I-Verify display and iDEAL
                                                                                   single deck specialty shuffler
                                 PO Box 846961
                                 Los Angeles, CA 90084-6961

Revel Entertainment Group, LLC   SHFL Entertainment, Inc.                          Batch shufflers
                                 PO Box 846961
                                 Los Angeles, CA 90084-6961

Revel Entertainment Group, LLC   Shift4 Corporation                                Agreement to enhance the interface with the Dollars on the Net secure online
                                                                                   service and implementing Shift4 payment security technologies
                                 1491 Center Crossing Road
                                 Las Vegas, NV 89135

Revel Entertainment Group, LLC   Shotspotter, Inc.                                 Permission for Sensor Placement
                                 7979 Gateway Blvd, Suite 210
                                 Newark, CA 94560-1156

Revel Entertainment Group, LLC   ShowClix, Inc                                     Ticketing Services agreement
                                 650 Smithfield Street
                                 Pittsburgh, PA 15222

Revel Entertainment Group, LLC   Shred-It USA Inc                                  Automatic service agreement
                                 796 Haunted Lane
                                 Bensalem, PA 19020

Revel Entertainment Group, LLC   Shuffle Master, Inc.                              Display lease
                                 1106 Palms Airport Drive
                                 Las Vegas, NV 89119

Revel AC, Inc.                   Sid Yu                                            Stock purchase agreement
                                 12035 Great Elm Dr.
                                 Potomac, MD 20854

Revel Entertainment Group, LLC   Siemens Industry, Inc.                            Building Automation Agreement effective June 1, 2013
                                 1450 Union Meeting Road                           as amended
                                 Blue Bell, PA 19422                               *Cure amount to be adjusted to reflect payments made and
                                                                                   obligations incurred postpetition and prior to assumption
Revel Entertainment Group, LLC   Siemens Industry, Inc.                            Fire Alarm & Safety Services Agreement
                                 1450 Union Meeting Road                           effective May 1, 2012 as amended
                                 Blue Bell, PA 19422                               *Cure amount to be adjusted to reflect payments made and
                                                                                   obligations incurred postpetition and prior to assumption
                    Case 14-22654-MBK
                      Case 14-22654-GMBDoc 1138
                                         Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                   COUNTERPARTY                                                  DESCRIPTION
Revel Entertainment Group, LLC   Siemens Industry, Inc.                               Technical support service agreement
                                 1450 Union Meeting Road
                                 Blue Bell, PA 19422

Revel Entertainment Group, LLC   Sixteenfifty Holding, Inc.                           Marketing Consultant Contract
                                 1110 Torrey Pines Road, Suite E
                                 La Jolla, CA 92037

Revel Entertainment Group, LLC   Slater, Tenaglia, Fritz & Hunt, P.A.                 Collection services agreement
                                 301 3rd Avenue
                                 Ocean City, NJ 08226

Revel Entertainment Group, LLC   SmarTV Company LLC                                   Payment and reporting agreement
                                 480 Olde Worthington Road
                                 Suite 350
                                 Westerville, OH 43082
Revel AC, Inc.                   Sompo Japan Insurance Company of America             Insurance Policy
                                 777 Third Avenue, 28th Floor
                                 New York, NY 10017

Revel Entertainment Group, LLC   South Jersey Energy Company                          Energy Services Agreement
                                 1 N White Horse Pike
                                 Hammonton, NJ 08037

Revel Entertainment Group, LLC   South Jersey Energy Company                          Energy Services Contract
                                 1 N White Horse Pike
                                 Hammonton, NJ 08037

Revel Entertainment Group, LLC   South Jersey Gas Company                             Standard Gas Service Agreement (LV)
                                 P.O. Box 6091
                                 Bellmawr, NJ 08099-6091

Revel Entertainment Group, LLC   South Jersey Gas Company                             Standard gas service agreement
                                 P.O. Box 6091
                                 Bellmawr, NJ 08099-6091

Revel Entertainment Group, LLC   South Jersey Transportation Authority                Commercial lane permit
                                 AC International Airport
                                 P.O. Box 8500-1706
                                 Philadelphia, PA 19178-1706
Revel Entertainment Group, LLC   Spielo International USA, LLC                        Master Lease Agreement for gaming equipment.
                                 6757 Spencer Street
                                 Las Vegas, NV 89119
                      Case 14-22654-MBK
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                                           Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                     COUNTERPARTY                                                         DESCRIPTION
Revel Entertainment Group, LLC   Spielo International USA, LLC                                   Master Sales Agreement for gaming equipment.
                                 6757 Spencer Street
                                 Las Vegas, NV 89119

Revel Entertainment Group, LLC   Sprocket Staffing Services, LLC                                 Agreement to procure temporary personnel
                                 P.O. Box 9627
                                 Manchester, NH 03108

Revel Entertainment Group, LLC   SRO Artists Inc                                                 Service of a performing artist - Dark Star Orchestra
                                 6629 University Avenue
                                 Suite 206
                                 Middleton, WI 53562
Revel Entertainment Group, LLC   Standard & Poors                                                Standard maintains rating and other analytical services in reference to publicly
                                                                                                 distributed debt etc...
                                 2542 Collection Center Drive
                                 Chicago, IL 60693

Revel Entertainment Group, LLC   Stanley Access Technologies                                     Swinging and sliding doors maintenance agreement
                                 P.O. Box 0371595
                                 Pittsburgh, PA 15251-7595

Revel AC, Inc.                   Star Aviation/Federal Insurance                                 Insurance Policy
                                 15 Mountain Road
                                 Warren, NJ 07059

Revel Entertainment Group, LLC   Star Group d/b/a The Media & Marketing Group                    Marketing agreement to perform marketing, media, advertising and related
                                                                                                 services.
                                 Voorhees Town Center
                                 220 Laurel Road
                                 Voorhees, NJ 08043
Revel Entertainment Group, LLC   Starcite                                                        Starcite services (not specified)
                                 Dept 2421 PO Box 122421
                                 Dallas, TX 75312-2421

Revel Atlantic City, LLC         State of New Jersey, Dept of Law & Public                       Casino Service Industry Enterprise License
                                 Safety, Division of Gaming Enforcement
                                 1300 Atlantic Avenue, Suite 200
                                 Atlantic City, NJ 08401
Revel Entertainment Group, LLC   State of New Jersey, Division of Gaming Enforcement             Operation Certificate
                                 1300 Atlantic Avenue, Suite 200
                                 Atlantic City, NJ 08401

Revel Entertainment Group, LLC   State of New Jersey, Division of Gaming Enforcement             Casino license for Revel Executive Team.
                                 1300 Atlantic Avenue, Suite 200
                                 Atlantic City, NJ 08401
                    Case 14-22654-MBK
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        SELLER ENTITY                                      COUNTERPARTY                                                          DESCRIPTION
Revel Entertainment Group, LLC   State of New Jersey, Division of Gaming Enforcement             Revel's Casino Hotel Alcoholic Beverage (CHAB) license.
                                 1300 Atlantic Avenue, Suite 200
                                 Atlantic City, NJ 08401

Revel Entertainment Group, LLC   State of New Jersey, Division of Gaming Enforcement             Amendment to Revel's Casino Hotel Alcoholic Beverage (CHAB) license.
                                 1300 Atlantic Avenue, Suite 200
                                 Atlantic City, NJ 08401

Revel Entertainment Group, LLC   State of New Jersey, Division of Gaming Enforcement             Amendment to Revel's Casino Hotel Alcoholic Beverage (CHAB) license.
                                 1300 Atlantic Avenue, Suite 200
                                 Atlantic City, NJ 08401

Revel Entertainment Group, LLC   State of New Jersey, Division of Gaming Enforcement             Amendment to Revel's Casino Hotel Alcoholic Beverage (CHAB) license.
                                 1300 Atlantic Avenue, Suite 200
                                 Atlantic City, NJ 08401

Revel Entertainment Group, LLC   State of New Jersey: Department of Environmental Protection     Portable Bars beach permit.
                                 P.O. Box 638
                                 Trenton, NJ 08646

Revel Entertainment Group, LLC   Stellabean Incorporated                                         Graphic design services for brand & revenue
                                 22 Wakeman Rd.
                                 South Salem, NY 10590

Revel Entertainment Group, LLC   Stream Integration                                              Implementation of a SOA oriented guest
                                 1133 Broadway, Suite 706                                        management system entitled FirstSight.
                                 New York, NY 10010

Revel Entertainment Group, LLC   Strike Force Protective Services, Inc.                          Security Agreement
                                 51 Progress
                                 Union, New Jersey 07083

Revel Entertainment Group, LLC   Strike Force Protective Services, Inc.                          Security Agreement
                                 51 Progress
                                 Union, New Jersey 07083

Revel Entertainment Group, LLC   Sunnyside Up Beach Rental, Inc.                                 Management Agreement - Concessions
                                 100 North Wilson Avenue
                                 Margate City, NJ 08406

Revel AC, Inc.                   Swiss Re                                                        Insurance Policy
                                 2 Waterside Crossing, Suite 200
                                 Windsor, CT 06095
                    Case 14-22654-MBK
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        SELLER ENTITY                                   COUNTERPARTY                                                      DESCRIPTION
Revel Entertainment Group, LLC   Target Environmental Co., Inc.                           Site Inspection
                                 P.O.Box 283
                                 235 New Orleans Ave.
                                 Egg Harbor City, NJ 08215
Revel Entertainment Group, LLC   TCS John Huxley America Inc                              Gaming Device Agreement
                                 6171 McLeod
                                 Suite H-M
                                 Las Vegas, NV 89120
Revel Entertainment Group, LLC   TD Bank                                                  Cash Management Master Agreement
                                 15 N. PENNSYLVANIA AVE.
                                 ATLANTIC CITY, NJ 08401

Revel Entertainment Group, LLC   TD eTreasury Services                                    Electronic banking system
                                 15 N. PENNSYLVANIA AVE.
                                 ATLANTIC CITY, NJ 08401

Revel Entertainment Group, LLC   Terri Vrabel                                             2014 Secure Email Agreement
                                 Internal Revenue Service
                                 2670 Industrial Highway
                                 York, PA 17402
Revel Entertainment Group, LLC   Terri Vrabel                                             Gaming Industry Tip Compliance Agreement
                                 Internal Revenue Service
                                 2670 Industrial Highway
                                 York, PA 17402
Revel Entertainment Group, LLC   Terry Glebocki                                           Executive Employment Agreement
                                 20 Arlene Dr
                                 Little Egg Harbor, NJ 08087

Revel Entertainment Group, LLC   Terry Glebocki                                           Rate adjustment agreement for executive employment
                                 20 Arlene Dr
                                 Little Egg Harbor, NJ 08087

Revel Entertainment Group, LLC   The Atlantic City Utilities Authority (ACUA)             Inspection Services Agreement
                                 P.O. Box 721
                                 Pleasantville, NJ 08232-0721

Revel Entertainment Group, LLC   The Marshall Retail Group d/b/a Dash                     Lease agreement for Dash Employee Store.
                                 5385 Wynn Road
                                 Las Vegas, NV 89118

Revel Entertainment Group, LLC   The Marshall Retail Group d/b/a Encore                   Lease agreement for Core Sundries Store.
                                 5385 Wynn Road
                                 Las Vegas, NV 89118
                    Case 14-22654-MBK
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        SELLER ENTITY                                      COUNTERPARTY                                                DESCRIPTION
Revel Entertainment Group, LLC   The Network, Inc.                                      Implementation of Ethics and Compliance Program for employees
                                 333 Research Court
                                 Norcross, Georgia 30092

Revel Entertainment Group, LLC   The Network, Inc.                                      Governance, risk and compliance software and services
                                 333 Research Court
                                 Norcross, Georgia 30092

Revel Entertainment Group, LLC   The Rainmaker Group Las Vegas, Inc.                    Master service agreement
                                 4550 North Point Parkway
                                 Suite 400
                                 Atlanta, GA 30022
Revel Entertainment Group, LLC   The Rainmaker Group Las Vegas, Inc.                    Master Services Agreement
                                 4550 North Point Parkway
                                 Suite 400
                                 Atlanta, GA 30022
Revel Entertainment Group, LLC   The Richard Stockton College of New Jersey             Conduct a suvey research study, analyze the results and prepare a final report

                                 Carnegie Library Center
                                 35 S DR Martin Luther King Bvd
                                 Atlantic City, NJ 08401
Revel Entertainment Group, LLC   The Ultimate Software Group, Inc                       Intersourcing service model agreement
                                 1485 North Park Ave.
                                 Weston, FL 33326

Revel Entertainment Group, LLC   The United States Playing Card Company                 Contract to purchase decks of custom playing cards
                                 P.O. Box 824377
                                 Philadelphia, PA 19182-4377

Revel Entertainment Group, LLC   The United States Playing Card Company                 Contract to purchase decks of custom playing cards
                                 P.O. Box 824377
                                 Philadelphia, PA 19182-4377

Revel Entertainment Group, LLC   Think Loud Touring, LLC                                Performance Contract - LIVE
                                 210 York Street #300
                                 York, PA 17403

Revel Entertainment Group, LLC   Thomas A Patchin                                       Digital and online marketing strategies consulting agreement
                                 4017 Highland Castle Court
                                 Las Vegas, NV 89129

Revel AC, Inc.                   Thomas Auriemma                                        Indemnification Agreement
                                 11 Overlook Road
                                 Chatham, NJ 07928
                    Case 14-22654-MBK
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                                         Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                     COUNTERPARTY                                                    DESCRIPTION
Revel AC, Inc.                   Thomas Auriemma                                           Stock purchase agreement
                                 11 Overlook Road
                                 Chatham, NJ 07928

Revel Entertainment Group, LLC   Thomas Company                                            Lease Agreement
                                 6587 Delilah Road
                                 Egg Harbor Township, NJ 08234

Revel AC, Inc.                   Thomas M Benninger                                        Indemnification Agreement
                                 101 Baywood Avenue
                                 Hillsborough, CA 94010

Revel Entertainment Group, LLC   Ticketmaster L.L.C.                                       Activation Agreement for events at Revel
                                 International Plaza #2
                                 Suite 330
                                 Philadelphia, PA 19113
Revel Entertainment Group, LLC   Titus Leasing Company                                     Limo lease agreement
                                 1851 Center Street
                                 Camp Hill, PA 17011

Revel Entertainment Group, LLC   T-Mobile Northeast, LLC                                   In-Building Telecommunications License Agreement
                                 4 Sylvan Way
                                 Parsippany, NJ 07054

Revel AC, Inc.                   Tokio Marine & Nichido Fire Insurance Company             Insurance Policy
                                 230 Park Avenue
                                 New York, NY 10169

Revel Entertainment Group, LLC   Transervice Transportation Management                     Shuttle Services for the Fuel Merchants Association of New Jersey & Revel
                                                                                           Entertainment
                                 821 Shunpike Road
                                 Cape May, NJ 08204

Revel Entertainment Group, LLC   Transperfect Legal Solutions                              Contracted legal services
                                 3 Park Avenue
                                 39th Floor
                                 New York, NY 10016
Revel Entertainment Group, LLC   Transperfect Staffing Solutions                           Onsite Document Reviewers
                                 3 Park Avenue
                                 New York, NY 10016
                    Case 14-22654-MBK
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                                         Doc  707-4Filed  01/08/15
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        SELLER ENTITY                                     COUNTERPARTY                                            DESCRIPTION
Revel Entertainment Group, LLC   Travelclick                                       Master services agreement
                                 P.O. Box 71199
                                 Chicago, IL 60694-1199

Revel AC, Inc.                   Travelers                                         Insurance Policy
                                 770 Pennsylvania Drive, Suite 110
                                 Exton, PA 19341

Revel Entertainment Group, LLC   Travelocity.com                                   Business Listing
                                 11603 Crosswinds Way
                                 San Antonio, TX 78233

Revel Entertainment Group, LLC   TravelZoo                                         Merchant Agreement
                                 5505 N.Cumberland ave Ste 307
                                 Chicago, IL 60656-1471

Revel Entertainment Group, LLC   Tripadvisor LLC                                   Business listing & mobile marketing agreement
                                 141 Needham Street
                                 Newton, MA 02472

Revel Entertainment Group, LLC   Turnberry Solutions, Inc.                         Master Consulting Agreement
                                 Gwynedd Hall, Suite 401
                                 1777 Sentry Parkway West
                                 Blue Bell, PA 19422
Revel Entertainment Group, LLC   United States Playing Card Co                     Contract - 508,032 decks of customer playing
                                 P.O. Box 824377                                   cards
                                 Philadelphia, PA 19182-4377

Revel Entertainment Group, LLC   Vantage Business Systems, Inc.                    Software Maintenance Agreement
                                 6019 Main Street Suite 1A
                                 Mays Landing, NJ 08330

Revel Entertainment Group, LLC   Vocera Communications, Inc.                       Implement a Vocera Communications System
                                 P.O. Box 809087
                                 Chicago, IL 60680-9087

Revel Entertainment Group, LLC   Vocera Communications, Inc.                       Master Purchase Agreement
                                 P.O. Box 809087
                                 Chicago, IL 60680-9087

Revel Entertainment Group, LLC   Vocera Communications, Inc.                       Customer Advantage Agreement
                                 P.O. Box 809087
                                 Chicago, IL 60680-9087
                    Case 14-22654-MBK
                      Case 14-22654-GMBDoc 1138
                                         Doc  707-4Filed  01/08/15
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                                               Document      Page  151 of 152
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                                                                               Page 47




        SELLER ENTITY                                      COUNTERPARTY                                                   DESCRIPTION
Revel Entertainment Group, LLC   W.B. Mason Co. Inc.                                     Office Supplies Agreement
                                 PO Box 981101
                                 Boston, MA 02298

Revel Entertainment Group, LLC   Wandering Wifi                                          Hotel wireless internet project agreement
                                 P.O. Box 742048
                                 Atlanta, GA 30374-2048

Revel Entertainment Group, LLC   Waste Management NJ                                     Roll Off Service Agreement Non-Hazardous Waste Removal
                                 100 Silvia Street
                                 Ewing, NJ 08628

Revel Entertainment Group, LLC   WCBS FM                                                 Radio Marketing Agreement
                                 345 Hudson Street
                                 New York, NY 10014

Revel Entertainment Group, LLC   Weatherby Construction and Renovation Corp.             Standard Form of Agreement Between Owner and Contractor for a Project of
                                                                                         Limited Scope for Pearl Lounge
                                 147 N. Iowa Avenue
                                 Atlantic City, NJ 08401

Revel Entertainment Group, LLC   Weatherby Construction and Renovation Corp.             Construction Management Agreement for Revel Day Club - tile for Beach Club

                                 147 N. Iowa Avenue
                                 Atlantic City, NJ 08401

Revel Entertainment Group, LLC   Wells Fargo                                             Revel Retirement Savings Plan
                                 6th and Marquette
                                 Minneapolis, MN 55479

Revel Entertainment Group, LLC   WEX Bank                                                Deposit Agreement to establish credit line for Revel
                                 P.O. Box 6293
                                 Carol Stream, IL 60197-6293

Revel AC, Inc.                   William P McBeath                                       Indemnification Agreement
                                 2212 Paiute Meadows
                                 Las Vegas, NV 89134
                    Case 14-22654-MBK
                      Case 14-22654-GMBDoc 1138
                                         Doc  707-4Filed  01/08/15
                                                       Filed 10/02/14Entered 01/08/15
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                                               Document      Page  152 of 152
                                      Exhibit D (Back-Up Bid APA) Page 128 of 128
                                                                          Page 48




        SELLER ENTITY                                      COUNTERPARTY                                            DESCRIPTION
Revel Entertainment Group, LLC   WMS Gaming Inc                                     Gaming Device Agreement
                                 800 S. Northpoint Blvd.
                                 Waukegan, IL 60085

Revel Entertainment Group, LLC   WMS Gaming Inc                                     Gaming Device Agreement
                                 800 S. Northpoint Blvd.
                                 Waukegan, IL 60085

Revel Entertainment Group, LLC   WMS Gaming Inc                                     Gaming Device Agreement
                                 800 S. Northpoint Blvd.
                                 Waukegan, IL 60085

Revel Entertainment Group, LLC   WMS Gaming Inc                                     Gaming Device Agreement
                                 800 S. Northpoint Blvd.
                                 Waukegan, IL 60085

Revel Entertainment Group, LLC   Worth International Media Group                    Media Space Contract - Sept/Oct Issue - 2 page spread
                                 5979 N.W. 151 Street
                                 Miami Lakes, FL 33014
                                 Miami Lakes, FL 33014

Revel AC, Inc.                   XL                                                 Insurance Policy
                                 70 Seaview Avenue
                                 Stamford, CT 06902-6040

Revel AC, Inc.                   XL                                                 Insurance Policy
                                 70 Seaview Avenue
                                 Stamford, CT 06902-6040

Revel AC, Inc.                   XL                                                 Insurance Policy
                                 70 Seaview Avenue
                                 Stamford, CT 06902-6040

Revel AC, Inc.                   XL Insurance America                               Insurance Policy
                                 200 Liberty Street, 21st Floor
                                 New York, NY 10004

Revel AC, Inc.                   XL Specialty                                       Insurance Policy
                                 70 Seaview Aveneue
                                 Stamford, CT 06902-6040
